    Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 1 of 85
                                                                       REDACTED VERSION




            IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                             BID PROTEST


                                    21 -1 695C
                            (Judge Richard A. He1iling)


                       BLUE ORIGIN FEDERATION LLC,
                                    Plaintiff,

                                        V.


                             THE UNITED STATES,
                                     Defendant,

                                       and

                  SPACE EXPLORATION TECHNOLOGIES CORP.,
                             Defendant-Intervenor.


          DEFENDANT'S COMBINED MOTION TO DISMISS AND
    CROSS-MOTION FOR JUDGMENT ON THE ADMINISTRATIVE RECORD


                                             BRIAN M. BOYNTON
                                             Acting Assistant Attorney General

                                             MARTIN F. HOCKEY, JR.
                                             Acting Director

                                             DOUGLAS K. MICKLE
OF COUNSEL:                                  Assistant Director

ALLISON M. GENCO                             ANTHONYF. SCHIAVETTI
BRIAN M. STANFORD                            Senior Trial Counsel
Senior Attorney Advisors                     U.S. Depa1iment of Justice
NASA Office of the General Counsel           Civil Division
                                             Commercial Litigation Branch
                                             PO Box 480, Ben Franklin Station
                                             Washington, D .C. 20044
                                             Tel: (202) 305-7572
                                             Fax: (202) 305-1 571
                                             anthony .f.schiavetti@usdoj.gov


October 1, 2021                              Attorneys for Defendant
            Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 2 of 85




                                                   TABLE OF CONTENTS
QUESTIONS PRESENTED ......................................................................................................... 3

STATEMENT OF THE CASE ..................................................................................................... 4

     I.         Statement Of Facts ...................................................................................................... 4

                A. Procurement Background...................................................................................... 4

                B. The Solicitation ..................................................................................................... 6

                     1. Structure Of The Procurement ........................................................................ 6

                     2. Definition Of Tenns ........................................................................................ 8

                     3. Evaluation Factors And Ratings ..................................................................... 9

                     4. Discussions And Negotiations ........................................................................ 10

                     5. Statement Of Work ...................................................................... ................... 11

                C. Source Selection And Award To SpaceX ............................................................. 14

                     1. Proposals And Evaluation ............................................................................... 14

                     2. Limited Available Funding And Selection Of SpaceX For
                        Negotiations .................................................................................................... 18

                     3. Post-Selection Negotiations And Award ........................................................ 20

     II.        Procedm·al Histo1y ...................................................................................................... 25

ARGUMENT ................................................................................................................................ 30

     I.         Legal Standards ........................................................................................................... 30

                A. Standard Of Review For A Motion To Disiniss For Lack Of
                   Jurisdiction, And Standing In A Procurement Challenge ..................................... 30

                B. Standard Of Review For A Motion To Disiniss For Failure To
                   State A Claim Upon Which Relief Can Be Granted, And The Blue &
                   Gold Fleet Waiver Rule ........................................................................................ 32

                C. Standard Of Review For A Motion For Judgment On The Adininisti·ative
                   Record And Standard For Procurement Challenges ............................................. 35
            Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 3 of 85




     II.        The Comt Should Dismiss Blue Origin's Complaint Because It Has Not
                Established Stan ding ................................................................................................... 38

                A. Blue Origin's Proposed Price So Far Exceeded Available Funding
                   And SpaceX's Pricing That It Cannot Show A Substantial Chance
                   Of Award .............................................................................................................. 39

                B. Even If NASA Had Waived FRRs Or Other Milestone Reviews,
                   Blue Origin Cannot Establish That It Would Have Had A Substantial
                   Chance Of Award In Light Of Such A Waiver. ..................... .............................. .43

                C. Even If NASA Had Held Discussions Or Amended The Solicitation,
                   Blue Origin Cannot Establish That It Would Have Had A Substantial
                   Chance Of Award ................................................................................................. 46

                D. If Blue Origin's Interpretation Of What Constitutes A Deficiency
                   Were Conect, Blue Origin Would Have Been Ineligible For Award.................. .47

     III.       The Court Should Dismiss Court Two And Other Allegations In Blue
                Origin's Complaint Because Blue Origin Has Waived Them ................................... .49

     IV.        The Comt Should Grant Judgment On The Administrntive Record To
                The United States ............................................................................................... ......... 51

                A. NASA Did Not Waive A Solicitation Requirement For FRRs Or Other
                   Milestone Reviews For SpaceX ............................................................................ 52

                B. NASA Was Not Required To Hold Discussions With Blue Origin,
                   And Its Exchanges With SpaceX Were Proper In Accordance With
                   The Solicitation ..................................................................................................... 63

                C. NASA Had No Obligation To Amend The Solicitation, And Its Decision
                   Not To Do So Was Rational ............................ ..................................................... 67

                D. NASA Evaluated SpaceX's Proposal In Accordance With The
                   Solicitation ............................................................................................................ 71

                E. NASA Did Not Breach The Implied Covenant Of Good Faith And
                   Fair Dealing .......................................................................................................... 73

     V.         Blue Origin Has Failed To Establish That It Is Entitled To Pe1manent
                Injunctive Relief. ......................................................................................................... 7 4

CONCLUSION ............................................................................................................................. 77

                                                                       11
            Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 4 of 85




                                               TABLE OF AUTHORITIES



Microcosm, Inc.,
 B-277326, et al., 97-2 CPD ,r 133 (Comp. Gen. Sept. 30, 1997) .............................................. 40

Advanced Concepts Enterprises, Inc. v. United States,
  142 Fed. Cl. 187 (2019) ............................................................................................................ 32

Advanced Data Concepts v. United States,
  216 F.3d 1054 (Fed. Cir. 2000) ................................................................................................. 37

Allied Tech. G1p., Inc. v. United States,
  649 F.3d 1320 (Fed. Cir. 2011) ................................................................................................. 65

Am. Fed'n ofGov 't Emps., AFL-CIO v. United States,
  258 F.3d 1294 (Fed. Cir. 2001) ................................................................................................. 31

Argencord Mach. & Equip., Inc. v. United States,
  68 Fed. Cl. 167 (2005) .............................................................................................................. 34

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) .................................................................................................................. 33

Axiom Res. Mgmt., Inc. v. United States,
  564 F.3d 1374 (2009) ................................................................................................................ 57

Baltimore Gas & Elec. Co. v. Natural Res. Def Council,
  462 U.S. 87 (1983) .................................................................................................................... 59

Banknote Corp. ofAm. v. United States,
  56 Fed. Cl. 377 (2003) ........................................................................................................ 59, 62

Banknote Corp. ofAm. v. United States,
  365 F.3d 1345 (Fed. Cir. 2004) ........................................................................................... 53, 58

Bannum, Inc. v. United States,
  404 F.3d 1346 (Fed. Cir. 2005) .......................................................................................... passim

Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007) .................................................................................................................. 33

Blue & Gold Fleet, L.P. v. United States,
  492 F.3d 1308 (Fed. Cir. 2007) .......................................................................................... passim

                                                                    lll
            Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 5 of 85




Briscoe v. LaHue,
  663 F.2d 713 (7th Cir. 1981) .................................................................................................... 30

Brocade Commc 'ns Sys., Inc. v. United States,
  120 Fed. Cl. 73 (201 5) .............................................................................................................. 30

Bromley Contracting Co. v. United States,
  15 Cl. Ct. 100 (1988) ................................................................................................................ 37

CACL Inc. - Federal v. United States,
  719 F.2d 1567 (Fed. Cir. 1983) ................................................................................................. 74

Camp v. Pitts,
  411 U.S. 138 (1973) .................................................................................................................. 36

CCL Serv. Corp. v. United States,
 48 Fed. Cl. 113 (2000) .............................................................................................................. 36

Chenega Healthcare Servs., LLC v. United States,
  138 Fed. Cl. 644 (2018) ............................................................................................................ 65

Cincom Sys., Inc. v. United States,
  37 Fed. Cl. 663 (1997) .............................................................................................................. 37

Citizens to Pres. Overton Park, Inc. v. Volpe,
  401 U.S. 402 (1971) .................................................................................................................. 37

CliniComp Int'!, Inc. v. United States,
  904 F.3d 1353 (Fed. Cir. 2018) ........................................................................................... 31 , 32

COMINT Sys. Corp. v. United States,
 700 F.3d 1377 (Fed. Cir. 2012) ..................................................................................... 35, 51 , 68

Davis v. Federal Election Comm 'n,
  554 U.S. 724 (2008) .................................................................................................................. 32

Diaz v. United States,
  853 F.3d 1355 (Fed. Cir. 2017) ..................................................................................... 30, 31 , 32

Digitalis Educ. Sols., Inc. v. United States,
  97 Fed. Cl. 89 (2011) ................................................................................................................ 63

Digitalis Educ. Sols., Inc. v. United States,
  664 F.3d 1380 (Fed. Cir. 2012) ........................................................................................... 31 , 63


                                                                    lV
            Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 6 of 85




Impresa Constrnzioni Geom. Domenico Garnfi v. United States ,
  238 F.3d 1324 (Fed. Cir. 2001) ................................................................................................. 37

Dyck v. Albertelli Law,
  98 Fed. Cl. 624 (2011) .............................................................................................................. 30

Elec. D ata Sys., LLC v. United States,
  93 Fed. Cl. 41 6 (2010) ........................................................................................................ 41 , 70

E.W. Bliss Co. v. United States,
  77 F.3d 445 (Fed. Cir. 1996) ......................................................................................... 37, 58, 59

Florida Power & Light v. Lorion,
  470 U.S. 729 (1985) .................................................................................................................. 36

Gen. Dynamics Mission Sys., Inc. v. United States ,
  137 Fed. Cl. 493 (201 8) ............................................................................................................ 58

Glob. Aerospace C01p.,
  B-414514, 2017 CPD ,r 198 (Comp. Gen. July 3, 2017) .......................................................... 40

Grunley Walsh Int '/ LLC v. United States,
  78 Fed. Cl. 35 (2007) ................................................................................................................ 56

Holley v. United States,
  124 F.3d 1462 (Fed. Cir. 1997) ................................................................................................. 30

Indium Corp. ofAm. v. Semi-Alloys, Inc.,
  781 F.2d 879 (Fed. Cir. 1985) ................................................................................................... 30

Info. Tech & Apps. Corp. v. United States,
   316 F.3d 1312 (Fed. Cir. 2003) ..................................................................................... 29, 31, 32

Inserso Corp. v. United States,
  961 F.3d 1343 (Fed. Cir. 2020) ........................................................................................... 32, 35

Kiewit Infrastructure W. Co. v. United States,
  147 Fed. Cl. 700 (2020) ................................................................................................ 35, 36, 37

Kinemetrics, Inc. v. United States ,
  No. 21-1626, 2021 WL 4237169 (Fed. Cl. Sept. 10, 2021) ...................................................... 40

Labatt Food Serv., Inc. v. United States,
  577 F.3d 1375 (Fed. Cir. 2009) ........................................................................................... 31, 32


                                                                    V
            Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 7 of 85




Lermer Germany GmbH v. Lermer C01p.,
  94 F.3d 1575 (Fed. Cir. 1996) ................................................................................................... 74

Lindsay v. United States,
  295 F.3d 1252 (Fed. Cir. 2002) ................................................................................................. 33

Lujan v. Deft. of Wildlife,
  504 U.S. 555 (1992) ............................................................................................................ 41, 47

MW. Kellogg Co., v. United States,
 10 Cl. Ct. 17 (1986) .................................................................................................................. 37

Metcalf Cons tr. Co. v. United States,
 53 Fed. Cl. 617 (2002) ............................................................................................................. 56

Metro. Interpreters & Translators, Inc. v. United States,
  145 Fed. Cl. 495 (2019) ................................................................................................ 59, 71, 73

Monsanto Co. v. Geertson Seed Farms,
 561 U.S. 139 (2010) .................................................................................................................. 77

Myers Investigative & Sec. Servs. v. United States,
 275 F.3d 1366 (Fed. Cir. 2002) ................................................................................................. 32

OAO C01p. v. United States,
 49 Fed. Cl. 478 (2001) .............................................................................................................. 74

Per AarsleffAIS v. United States,
  829 F.3d 1303 (Fed. Cir. 201 6) ................................................................................................. 33

PGBA, LLC v. United States,
  389 F.3d 1219 (Fed. Cir. 2004) ................................................................................................. 74

R & W Flammann GmbH v. United States,
  339 F.3d 1320 (Fed. Cir. 2003) ................................................................................................. 58

Res Rei Dev., Inc. v. United States,
  126 Fed. Cl. 535 (201 6) ............................................................................................................ 73

Reynolds v. Army & Air Force Exch. Serv.,
  846 F.2d 746 (Fed. Cir. 1988) ................................................................................................... 30

Rhinocorps Ltd. Co. v. United States,
  87 Fed. Cl. 261 (2009) .............................................................................................................. 57


                                                                    Vl
             Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 8 of 85




Seaborn Health Care, Inc. v. United States,
  101 Fed. Cl. 42 (2011) .............................................................................................................. 38

SEKRI, Inc. v. United States,
  152 Fed. Cl. 742 (2021) ..................................................................................................... passim

Tech Sys., Inc. v. United States,
  50 Fed. Cl. 216 (2001) .............................................................................................................. 36

Weeks Marine, Inc. v. United States,
 575 F.3d 1352 (Fed. Cir. 2009) ................................................................................................. 30



                                                                   Statutes

5 U.S.C. § 702 ............................................................................................................................... 37

5 U.S.C. § 706 ............................................................................................................................... 37

28 U.S.C. § 1491(b) ............................................................................................................... passin1



                                                                Regulations

FAR 6.102(d)(2) ........................................................................................................................... 50

FAR 15.206(a) .............................................................................................................................. 67

FAR 35.002 ..................................................................................................................................... 5

FAR 35.01 6 ............................................................................................................................ passint




                                                                       Vll
           Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 9 of 85




                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                   BID PROTEST

BLUE ORIGIN FEDERATION, LLC,                      )
                                                  )
                 Plaintiff,                       )
                                                  )
                 v.                               )
                                                  )
THE UNITED STATES,                                )             No. 21-1695C
                                                  )        (Judge Richard A. Hertling)
                 Defendant,                       )

and

SPACE EXPLORATION TECHNOLOGIES                    )
CORP.,

                 Defendant-Intervenor.            )

            DEFENDANT’S COMBINED MOTION TO DISMISS AND
      CROSS-MOTION FOR JUDGMENT ON THE ADMINISTRATIVE RECORD

          Pursuant to Rule 12(b)(1) of the Rules of the United States Court of Federal Claims

(RCFC), defendant, the United States, respectfully requests that the Court dismiss the complaint

filed by plaintiff, Blue Origin Federation, LLC (Blue Origin), because Blue Origin lacks standing

to pursue its complaint. Moreover, pursuant to RCFC 12(b)(6), the United States respectfully

requests that the Court dismiss portions of Blue Origin’s complaint because Blue Origin has

waived the allegations contained therein. In the event that any allegations in the complaint are

not dismissed pursuant to RCFC 12(b)(1) or 12(b)(6), the United States respectfully requests

that, pursuant to RCFC 52.1, the Court deny Blue Origin’s motion for judgment on the

administrative record and grant judgment on the administrative record in favor of the United

States.

          Blue Origin seeks to have this Court permanently enjoin the National Aeronautics and

Space Administration’s (NASA’s) award of a contract to defendant-intervenor, Space
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 10 of 85




Exploration Technologies Corp. (SpaceX), for the development of a system to land humans on

the smface of the Moon for the first time in a half-centmy . NASA's research and development

procmement was not a competition between offerors. Instead, following from an earlier

procmement resulting in award to three offerors including Blue Origin and SpaceX, NASA

sought to make award to up to two offerors, to the extent that any such award was in the best

interests of the agency and the American space mission, in light of the quality of the solutions

proposed, their price tag, and the funding available. In its expe1i judgment, NASA reasonably

detennined that, given these factors, award of a single contract to SpaceX was justified -

SpaceX's proposal was the most highly rated and was a fraction of the price of the other

proposals, and limited funding precluded multiple awards.

       In its challenge to this decision, Blue Origin is unable to alter the fundamental facts that

ultimately led NASA to decide that the award of a contract to Blue Origin was not waiTanted: 1)

its proposal, though solid, was not as good as that proposed by SpaceX; and 2) its price, which is

more than double the price proposed by SpaceX and called for payment of more than triple the

funding NASA had available in the next fiscal yeai·, was drainatically too high. Rather than

addressing its own failme to convince NASA of the merits of an awai·d in its favor, however,

Blue Origin seeks to scuttle NASA's awai·d to SpaceX by advan cing a strained, inco1Tect

inte1pretation of solicitation tenns that had no impact on Blue Origin's own proposal. Blue

Origin stretches this semantic so1iie into neighboring solicitation tenito1y as well, in an attempt

to transfonn what would, even if Blue Origin's enoneous inte1pretation were conect, ainount to

at most a minor management flaw into an important concern calling SpaceX's award into

question. But NASA's expe1i evaluators - literal rocket scientists - diagnosed and evaluated the


                                                 2
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 11 of 85




concern. They assigned a weakness to SpaceX due to the increased risk it presented, mitigated

that risk through negotiations conducted in accordance with the solicitation, and rationally

detennined that award to SpaceX was in NASA's best interest. The Comi should decline Blue

Origin's invitation to second guess NASA's considered judgments, setting back America's space

exploration effo1is in the process.

        Moreover, even if Blue Origin's interpretation of the solicitation were conect, it cannot

demonstrate that, had NASA operated under that inte1p retation, Blue Origin would have had a

substantial chance of securing a contract award. Its proposal was not impacted by the issue on

which it focuses, and its attempt to allege that it would have proposed an entirely different

solution rings hollow. This claim, advanced here for the first time, is directly contradicted by the

record, Blue Origin's public statements, and by its own complaint. Because Blue Origin cannot

show that it was prejudiced even if it could establish that NASA en ed, Blue Origin lacks

standing to pursue its protest and the Comi should dismiss it. The Comi should likewise dismiss

a number of challenges Blue Origin belatedly brings to the clear ten ns of the solicitation, under

which it uncomplainingly submitted its proposal, only to tiy to dispute the rnles after the

procurement is resolved and it was not selected. Blue Origin's claims, which it lacks standing to

bring in the first place and has largely waived, have no merit. Accordingly, the Comi should

dismiss or deny this protest in its entirety.

                                      QUESTIONS PRESENTED

        1.      Whether Blue Origin has standing to pursue the allegations in its complaint when,

even taking each alleged procurement en or to be ti11e for the pmposes of the standing analysis,

Blue Origin cannot demonstrate that it was prejudiced.


                                                 3
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 12 of 85




        2.      Whether allegations contained in Count Two and elsewhere in Blue Origin's

complaint are baiTed by the waiver mle established by the Federal Circuit in Blue & Gold Fleet,

L.P. v. United States, 492 F.3d 1308 (Fed. Cir. 2007), when they bring challenges to the tenns of

the solicitation after the deadline for receipt of proposals had passed, and even well after NASA

made the decision to award a contract pursuant to its Option A procurement to SpaceX.

        3.      Whether the United States is entitled to judgment on the administrntive record

when Blue Origin has failed to establish that NASA's decision to awai·d a single Option A

contract to SpaceX was arbitrn1y , capricious, or contraiy to law.

        4.      Whether Blue Origin has established that it is entitled to pe1manent injunctive

relief when it has failed to show that it should prevail on the merits, that it has suffered

inepai·able harm, that the balance of haims weighs in its favor, or that the public interest weighs

in favor of injunctive relief.

                                  STATEMENT OF THE CASE

I.      Statement Of Facts

        A.      Procurement Background

        The procurement at issue in this case is one paii of the lai·ger NASA Artemis program,

which aims to achieve the ambitious mission to return humans to the surface of the Moon for the

first time since the Apollo program's last crewed landing in 1972. Declaration of Robe1i D.

Cabana, attached, at ,i 4; NASA's Lunai· Exploration Program Overview (September 2020),

https://www.nasa.gov/sites/default/files/atoms/files/a1iemis_plan-20200921 .pdf (last visited Oct

1, 2021) at 9. A return of human explorers to the Moon will aid in prepai·ing humanity for its

next great foray in space exploration - sending humans over 140 million miles to Mai·s. Id.


                                                   4
          Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 13 of 85




Altemis will send a new generation of astronauts to the lunar surface, including the first woman

and first person of color to land on the Moon. AR Tab 77 at 63038.

          The Human Landing System (HLS) program is pait of an innovative public-private

paitnership model. Id. "While the requirements and operations concept for the HLS are

specified and managed by NASA, the HLS design, development, test, and evaluation (DDT&E)

will be led by the Option A contrnctor." Id. Although the contrnctor takes the lead in design of

HLS systems, "NASA will provide significant suppo1t and expertise to the contractor, including

the use of specialized NASA facilities, hai·dware, and personnel." The desired result is "a

sustainable commercial transpo1tation system that will enable frequent access to the lunai· surface

for NASA and other customers." Id. Even beyond the Moon, "NASA finther intends for public

and private investments in lunai· exploration capabilities to eventually expand to include

elements necessaiy to suppo1t prolonged human exploration in order to accomplish increasingly

advan ced exploration goals, including a human mission to Mars." Id.

          NASA solicited for the HLS procurement at issue under Appendix H of the omnibus

Broad Agency Announcement (BAA) Number NNH1 9ZCQ001K, titled Next Space

Technologies for Exploration Paitnerships -2 (NextSTEP-2). AR Tab 28 at 33202, 33228. A

BAA is a type of solicitation used in reseai·ch and development procurements conducted

pursuant to Federal Acquisition Regulation (FAR) Pait 35. Id. at 33204; see FAR 35.002,

35.016.

          Appendix H is a two-phase procurement that began with the issuance of a "Base Period"

solicitation on September 30, 2019. AR Tab 108a-002, Base Period BAA, at 65667. NASA

designed this first phase to have up to four awai·dees with contract perfo1mance of approximately


                                                 5
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 14 of 85




ten months. Id. at 65670. NASA ultimately awarded three Base Period contrncts, to Blue

Origin, SpaceX, and Dynetics, Inc. AR Tab 77 at 63038. During the Base Period, these

contractors worked with NASA to mature the designs of their unique landers.

       ConcmTent with Base Period contract perfo1mance, on October 30, 2020, NASA solicited

for proposals from the three Base Period contractors for the second phase of Appendix H,

"Option A." See AR Tab 27 at 24423. This solicitation indicated that NASA would award

Option A contracts to up to two of the Base Period contractors, with contract perfo1mance of

approximately four years. The purpose of the Option A procurement was to fmther facilitate the

rapid development of one or more landing systems owned and operated by contractors,

culminating in a crewed lunar surface landing demonstration mission near the Moon's South

Pole. Id. at 24426. NASA issued an amended, confonned Option A solicitation on November

16, 2020, to which all other citations in this briefrefer, unless othe1wise indicated. AR Tab 27.

       B.      The Solicitation

               1.      Structure Of The Procurement

       The Option A solicitation was a critical step towards "once again establish[ing] U.S .

preeminence around and on the Moon." Id. at 24427. In particular, NASA was "focused on

engaging with U.S . Industiy paitners and will use innovative approaches to combine robotics, a

cislunai· presence, and lunar landing capabilities to ultimately return humans to the surface of the

Moon." Id. Pursuant to the solicitation, "the design, development, test, and evaluation

(DDT&E) of the HLS will be led by one or more conti·actors." Id. at 24428.

       NASA issued the solicitation as a BAA using "other competitive procedures pursuant to

FAR Pait 35." Id. at 24473. The solicitation made cleai· that "NASA [would] not conduct a


                                                 6
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 15 of 85




comparative analysis and trade-off amongst proposals." Id. The solicitation provided that the

Source Selection Authority (SSA) would "consider each proposal on its own individual merits,

and will select for award one or more proposals that individually each present value to the

Government and that optimize NASA's ability to meet its objectives as set forth in this

solicitation." Id. at 24480.

       Although the solicitation indicated that NASA planned "to award Option A CLINs for up

to two of the Base period contractors," id. at 24429, the solicitation was clear that "NASA

reserves the right to change its HLS acquisition strategy at any time," id. , and that "NASA

reserves the right to select for award multiple, one, or none of the proposals received in response

to this Appendix." Id. at 24481. It explained that " [t]he overall number of awards will be

dependent upon funding availability and evaluation results." Id. Indeed, the solicitation

expressly stated that, " [c]onsistent with FAR 35.016(e), the prima1y basis for selecting one or

more proposals for award shall be technical, impo1iance to Agency programs, and funds

availability." Id. at 24475.

       Fmiher to the funding limitations, the solicitation warned offerors that " [f]unds are not

cmTently available for this solicitation, but are expected to become available on or before

contract award." Id. at 24481. It explained that "[t]he Government's obligation to make awards

is contingent upon the availability of appropriated funds from which payments can be made and

the receipt of proposals that NASA determines are acceptable." Id.

       The solicitation contemplated the award of a fnm fixed-price contract. Id. at 24432,

24433. The solicitation also warned offerors that the Government would not make advance




                                                 7
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 16 of 85




payments, and that "proposals containing an advance payment are ineligible for contract award."

Id. at 24479.

                2.     Definition Of Terms

       The solicitation provided definitions for several important tenns. Id. at 24430. It defined

the te1m "HLS" to mean:

                all objects, vehicles, elements, integrated systems, systems,
                subsystelllS, or components thereof that are designed, developed,
                and utilized by the contractor, its teammates, subcontractors, and
                suppliers in perfo1mance of this contract, and which collectively
                comprise the contractor's Integrated Lander (or elements thereof),
                all Suppo1i ing Spacecraft, all launch vehicles necessa1y for launch
                and delive1y of the contractor's Integrated Lander (or elements
                thereof) and its Supporting Spacecraft, and the contractor 's Active-
                Active docking adapter (AADA) (if required for perfonnance of the
                contractor's crewed demonstration rnission).

Id. It defined "Integrated Lander," or "HLS Integrated Lander," to mean:

                any and all combinations or configurations of the contractor's
                elements (e.g. , the Ascent Element) which are integrated (or,
                alternatively, a single element achieving the same purpose) at any
                time when crew are onboard.

Id. Finally, with relevance to this litigation, it defined "Suppo1i ing Spacecraft" to mean:

                any contractor spacecraft that is not othe1wise the contractor 's
                Integrated Lander (or an element thereof), launch vehicle, or Active-
                Active docking adapter (if required), but that is othe1wise required
                for the contractor to execute its demonstration mission or any
                po1iion thereof in perfo1mance of this contract, including, but not
                limited to, rendezvous, proximity operations, docking and
                undocking (RPODU), propellant transfer, and orbital maneuvering
                and transfer.

Id.




                                                  8
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 17 of 85




               3.      Evaluation Factors And Ratings

       As stated above, the solicitation stated that " [c]onsistent with FAR 35.016(e), the primaiy

basis for selecting one or more proposals for award shall be technical, impo1iance to Agency

programs, and funds availability," as delineated through the solicitation's three evaluation

factors. Id. at 24475. These evaluation factors were Technical Approach, Total Evaluated Price,

and Management Approach. Id. The factors were listed in descending order of importance to

the Government, such that Technical Approach was the most impo1iant factor, followed by Total

Evaluated Price and, finally, Management Approach, the least impo1iant of the three factors. Id.

The non-price factors, when combined, were significantly more impo1iant than price. Id. The

Technical Approach and Management Approach factors each listed a number of individual areas

of focus for the evaluation on those factors. Id.

       NASA would assign a single adjectival rating for each factor - ai·eas of focus would not

receive independent adjectival ratings. Id. In assigning overall factor adjectival ratings, areas of

focus were considered of approximately equal impo1iance. Id. The adjectival ratings to be

assigned were as follows: Outstanding, Ve1y Good, Acceptable, Marginal, and Unacceptable.

Id. at 24477. Each rating was defined in the solicitation. Id.

       In the evaluation of the areas of focus for the Technical Approach and Management

Approach factors, NASA assigned findings, including strengths and weaknesses, as defined in

the solicitation. Id. at 24476. In exercising its discretion to assign these findings, the solicitation

provided that "the Government will consider how an Offeror's proposed approach affects risk,

such as technical risk, risk to meeting the Offeror's proposed schedule, the need for increased

Government oversight, or the risk of likelihood of unsuccessful contract perfo1mance." Id.


                                                    9
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 18 of 85




These risk assessments were captured in the following categories of finding, each of which was

defined: Significant Sti·ength, Su-ength, Weakness, Significant Weakness, and Deficiency. Id.

With paiiicular relevance here, a Weakness was defined as " [a] flaw in the proposal that

increases the risk of unsuccessful conn-act perfonnance," whereas a Deficiency was defined as

" [a] material failure of a proposal to meet a Government requirement or a combination of

significant weaknesses in a proposal that increases the risk of unsuccessful conti·act perfon nance

to an unacceptable level." Id.

       The solicitation finiher provided notice to offerers that "proposals evaluated as having

one or more deficiencies ai·e unawai·dable." Id. at 24480. Specifically,

               If the SEP identifies a deficiency within any Offerer 's proposal at
               any time before selection or awai·d, and the SSA concurs with that
               deficiency, the Government reserves the right to engage in
               discussions or negotiations with only those Offerers whose
               proposals have not been identified as having one or more
               deficiencies.

Id.

               4.      Discussions And Negotiations

       The solicitation provided for two main types of exchanges between NASA and offerers

that would permit the offeror to revise its proposal in response: discussions and post-selection

negotiations. Id. at 24434. Discussions were defined as: "exchanges with Offerers that occur

after receipt of proposals but before selection that result in the Conn-acting Officer inviting the

Offeror to revise only those specific po1iions of its proposal that have been identified by the

Conti·acting Officer as open to revision." Id. Post-selection negotiations were defined as:

"exchanges with Offerers who have been selected for potential conn-act awai·d that result in the

Conti·acting Officer inviting the Offeror to revise only those specific po1iions of its proposal that
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 19 of 85




have been identified by the Contracting Officer as open to revision." Id. Proposal revision was

also defined, meaning "any change made by the Offeror to its proposal that occurs as a result of

discussion or post-selection negotiations in accordance with Section 4.2.2. of this solicitation."

Id. In three separate sections of the solicitation, NASA warned offerors that it "may evaluate

proposals and award contracts without conducting post-selection negotiations or discussions with

Offerors" and that, as a consequence, "each Offeror shall submit only one proposal which

represents its best approach to meeting the requirements of the solicitation." Id. at 24433

(emphasis omitted), 24473, see also 24481. NASA expressly reserved the right to conduct

discussions or post-selection negotiations if the contracting officer determined them to be

necessa1y. Id. at 24473.

               5.      Statement Of Work

       The solicitation included, at Attachment G, an HLS Statement of Work (SOW) that

described the work to be perfo1med in the perfo1mance of the contract. AR Tab 27e. In a

"significant change from how NASA has traditionally worked with industry ," the SOW

"specif[ied] the minimum NASA HLS requirements[,] allowing the conti·actor to tailor their

design to best address their commercial interests; launch on industiy -procured, commercial

launch vehicles; utilize ... commercial practices, standards, specifications, and processes; and

utilize a collaborative approach with inline NASA subject matter expe1iise, as requested by the

contractors." Id. at 32948.

       Among many other topics, the SOW described the milestone reviews for the HLS

program, designed "to assess programmatic and technical progress and perfonnance at key

decision points in the development and operational lifecycle phases, with the ultimate goal of


                                                 11
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 20 of 85




ce1t ifying the lander for crewed operations to an d from the lunar surface and assessing the

likelihood of mission success ." Id. at 32965. Some reviews were to be led by the contractor and

observed by NASA, and others were to be led by NASA. Id. at 32965-66. Among the NASA-

led reviews specified by the statement of work were the Flight Readiness Review (FRR), which

"examines tests, demonstrations, analyses, an d audits that detennine the system 's readiness for a

safe an d successful flight or launch and for subsequent flight operations." Id. at 32972. "The

FRR also ensures th at all flight and ground hardware, software, personnel, and procedures are

operationally ready." Id. The criteria for a successful FRR include ce1tification that " [t]he flight

vehicle, launch vehicle, and support spacecraft . .. are ready for flight," indicating an

expectation that suppo1t spacecraft would be examined as pa1t of an FRR, rather than in a

separate FRR. Id. (emphasis added). The SOW stated that " [t]he FRRshouldbe completed by

two (2) weeks before launch of each HLS element." Id. (emphases added).

       Also among the NASA-led reviews was the Design Ce1t ification Review (DCR), which

"ensures that the qualification and verifications demonstrate design compliance with the

functional and perfonnance requirements an d human spaceflight ce1tification," and which

"should be completed at first HLS launch - 9 Month s." Id. at 32969 (emphasis added).

       The SOW defined the te1ms "shall," "will," "should," an d "may." Id. at 32949. In

contrast with "shall," which it defined to indicate "a requirement, meaning it must be

implemented, and its implementation verified," "should" was defined to denote "a statement of

best practice or intent," an " [e]xpectation." Id.

       Moreover, alth ough the SOW did not expressly define the te1m "HLS Element," it did,

min oring th e main solicitation document, define several te1ms, in such a way that makes clear


                                                     12
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 21 of 85




that "elements" are paii of the integrated lander (which may be a single element), and that

"suppo1i ing spacecraft" is a ten n different from, and mutually exclusive with, the integrated

lan der and elements thereof:

               Integrated Lander: Any and all combinations of contractor
               elements (e.g. Ascent Element), including potential~y a single
               element, which is integrated at any time crew are onboard.

               Supporting Spacecraft: Any contractor spacecraft that is not
               othe1wise the Contractor's HLS Integrated Lander, Launch
               Vehicle, or AADA, but that is othe1w ise required for the Contractor
               to execute its demonstration mission or any po1iion thereof in
               perfo1mance of this contract, including, but not limited to,
               rendezvous, proximity operations, docking and undocking
               (RPODU), propellant transfer, and orbital man euvering and transfer.



               HLS: All objects, vehicles, elements, integrated systems, systems,
               subsystems, or components thereof th at are designed, developed,
               and utilized by th e contractor, its teammates, subcontractors, an d
               suppliers in perfo1mance of this contract, and which collectively
               comprise the contractor's Integrated Lander (or elements thereof),
               all Supporting Spacecraft, all launch vehicles necessary for launch
               and delivery of the contractor's Integrated Lander (or elements
               thereof) and its Supporting Spacecraft, an d the contractor's Active-
               Active docking adapter (AADA) (if required for perfonnan ce of the
               contractor's crewed demonstration mission).

Id. at 32948 (italics added, boldface in original). These definitions fmth er indicate anoth er

impo1iant distinction between the integrated lan der on one hand and suppo1iing spacecraft on the

oth er - while the integrated lan der transpo1is human crew, suppo1i ing spacecraft do not. Id.; see

also AR Tab 108b55-102a at 104678.




                                                 13
         Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 22 of 85




         C.     Source Selection And Award To SpaceX

                1.     Proposals And Evaluation

         Blue Origin, Dynetics, and SpaceX each submitted timely proposals in response to the

solicitation by the December 8, 2020 deadline. AR Tab 77 at 63038. A full description of each

offeror 's proposal is beyond the scope of this motion but, relevant to the issues in this case,

SpaceX proposed a single-element lander, its HLS Starship, while Blue Origin proposed a three-

element solution, with separate elements for ascent, descent, and transfer. See, e.g., id. at 63047,

63051.

         SpaceX's concept of operations utilizes its HLS Starship and two types of supporting

spacecraft, it depot and tanker Starships. AR Tab 34d.55 at 56274. SpaceX's suppo1iing

spacecraft are launched in advance of its HLS, which is the final launch in SpaceX's proposal.

Id. First, SpaceX's depot Starship is launched into Earth orbit, followed by multiple tanker

launches into Eaii h orbit. Id. Each tanker will rendezvous with the depot, filling the depot with

fuel. When the depot is sufficiently full, the HLS launches. Id. The depot will then rendezvous

with the HLS in Ea1ih orbit, fueling the HLS. Id. Once the HLS is sufficiently fueled, the HLS

transfers to lunai· orbit. Id. In lunai· orbit, the crew transfers from NASA's Orion spacecraft into

the HLS. Id. The HLS then begins the crew's descent to the surface of the Moon. In contrast to

SpaceX's concept of operations, Blue Origin proposed to utilize a three element HLS and no

supporting spacecraft. AR Tab 32a at 33339-40.

         In accordance with the evaluation plan, the Source Evaluation Panel (SEP) evaluated the

three Option A proposals and "produced a repo1i for each offeror containing all of the SEP's

findings, ratings, and other evaluative content." AR Tab 77 at 63039. The following table lists


                                                  14
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 23 of 85




the overall adjectival ratings assigned to each offerer for Factor 1, Technical Approach, and

Factor 3, Man agement Approach:

                                     Technical Rating      Management
                                     (Factor1)             Rating (Factor 3)
                  Blue Origin        Acceptable            Very Good

                  Dp1etics           Marginal              Ve1yGood

                  SpaceX             Acceptable            Outstanding

Id. at 63044. For Factor 2, Total Evaluated Price, "SpaceX's Total Evaluated Price of

$2,941 ,394,557 was the lowest among the offerers by a wide margin." Id. In stark contrast,

Blue Origin's Total Evaluated Price was nearly $6 billion, and Dynetics's was over $9 billion.

AR Tab 61 at 62856, 62866.

       Among the many finding and conclusion the SEP reached, a few merit mention here. For

th e Man agement Approach Factor, the SEP assigned SpaceX the highest possible rating,

Outstanding. AR Tab 59c at 62806. The SEP concluded that SpaceX's Man agement Approach

was "of exceptional merit" an d "fully responsive to the BAA objectives as set fo1th under this

evaluation factor." Id.

       The SEP, however, assigned a weakness to SpaceX in its Management Approach for

"milestone inconsistency with [SpaceX's Integrated Master Schedule (IMS)]." Id. at 62812.

The SEP stated that " [w]hile the offerer 's proposed milestones, associated acceptance criteria,

and IMS are internally consistent, they are arguably not consistent with all milestone review

requirements as set fo1th within and contemplated by the solicitation's Statement of Work

(SOW) and the solicitation's Milestone Acceptance Criteria and Payment Schedule." Id. The

SEP explained that SpaceX's unique proposed concept of operations, in which the depot and


                                                 15
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 24 of 85




tanker Starships would be launched well in advance of the crewed single-element HLS Starship,

meant that the FRR conducted two weeks prior to the launch of the HLS Starship would

necessarily not be able to review whether these suppo1iing spacecraft were ready for flight, as

th ey would have ah-eady been launched previously. Id. at 62813-14. The SEP acknowledged

that, in the unique circumstances presented by SpaceX's concept of operations, it was unclear

whether the SOW called for "an FRR milestone (and associated review) to be conducted and

achieved for each proposed suppo1iing spacecraft prior to launch and flight operations; or

alternatively, whether offerers were required to propose a single FRR covering the full scope of

its demonstration mission prior to th e launch of any lan der element or supporting spacecraft."

Id. at 62813. The SEP found that SpaceX's proposal was "not in accordance with either

inte1pretation." Id.

       In assigning the rating of Outstan ding for SpaceX's Man agement Approach, the SEP

considered all of its Management findings for SpaceX's proposal, including a weakness the SEP

assigned related to SpaceX's FRR approach. Id. at 62812. The SOW states that "[t]he FRR

should be completed by two (2) weeks before launch of each HLS element." AR Tab 27e at

32972. SpaceX proposed a single element HLS architecture. AR Tab 34d.55 at 56274.

Accordingly, SpaceX proposed a single FRR for its single HLS element. Tab 34d.33 at 55430.

However, as noted by the SEP, the SOW also listed over a dozen specific acceptance criteria for

each FRR, one of which mentions suppo1iing spacecraft: "The flight vehicle, launch vehicle, an d

suppo1i spacecraft (such as propellant storage, propellant transfer, and/or upper stage vehicles

th at provide transpo1iation capabilities beyond the standard for orbit insertion) are ready for

flight." AR Tab 59c at 62813.


                                                 16
         Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 25 of 85




SpaceX proposed its FRR to occm approximately two weeks before the targeted launch of its

single HLS element, but after the launch of its suppo1iing spacecraft. See general~y, AR

Tab34d.46-49. The proposed timing of this FRR meant that NASA would be unable to verify

that SpaceX's supporting spacecraft were "ready for flight," per one of the FRR acceptance

criteria, as these spacecraft would have ah-eady launched prior to the FRR. AR Tab 59c at

62813.

         SpaceX proposed to conduct its own FRRs prior to the launch of its suppo1iing

spacecraft, and proposed to have NASA involvement in those FRRs, but NASA would not chair

these FRRs for supporting spacecraft like it would for the FRR prior to the launch of SpaceX's

HLS Starship. AR Tab 108a-117 at 92314, 92332; Tab 108b55-102a at 104678. As a result, the

SEP deten nined that, in its expe1ijudgment, this aspect of SpaceX's proposal wan anted a

weakness because it found that the timing of SpaceX's proposed FRR "has the effect of

lessening NASA's involvement and pa1i icipation in assessing flight readiness for the offeror's

supporting spacecraft prior to launch of such spacecraft. Therefore, this aspect of the offeror ' s

proposal increases risk of unsuccessful perfo1mance." Id. at 62814.

         Blue Origin's proposal was also, like those of the other two offerors, assessed several

strengths and weaknesses. Among the weaknesses that the SEP assigned to Blue Origin's

proposal were several in which the SEP, as it did with the SpaceX management weakness

detailed above, used language indicating that Blue Origin's proposal had fallen sho1i of

solicitation requirements. For example, Blue Origin was assigned a weakness for its -

_          , in which the SEP stated that




                                                 17
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 26 of 85




                                       AR Tab 59a at 62691. Rather than assess a deficiency,

however, the SEP concluded th at th e issue "meaningfolly increases the risk that the paiiies will

need to engage in protracted negotiations for - prior to award and during contract

execution," and that "[t]hese sho1ifalls constitute a flaw in [Blue Origin's] proposal that increase

the likelihood of unsuccessfol contract perfon nan ce," thus waiTanting a weakness. Id. at 62692;

see also id. at 62647 (regai·ding Blue Origin's non-compliant fault tolerance in its Ascent

Element's manual control system, assessed as a weakness rather than a deficiency), id. at 62654

(regarding Blue Origin's proposal's "fail[ure] to meet ... three key HLS requirements"

regai·ding radio frequency communications, assessed as a significant weakness rather than a

deficiency).

       In each such similar instance, although the SEP identified solicitation requirements not

met by the proposal, th e SEP, in its expert analysis, considered the flaws in the proposal to

constitute a weakness or a significant weakness rather than a deficiency. That is, these flaws in

Blue Origin's proposal, like th e problem presented by SpaceX's original proposed approach to

FRRs, increased the risk of unsuccessfol contract perfon nance, but did not constitute a material

failure to meet a Government requirement or increase the risk of unsuccessfol perfonnance to an

unacceptable level.

               2.      Limited Available Funding And Selection Of SpaceX For Negotiations

       As explained above, the Option A solicitation stated NASA's preference for making two

awards, but expressly made that preference - and, indeed, any award at all - conditional on the

availability of sufficient fonding to support any such awai·d(s). AR Tab 27 at 24429, 24475,

24480, 24481. Indeed, at the time that the solicitation was released, no fonding had yet been


                                                 18
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 27 of 85




appropriated by Congress for the pmpose, though NASA expected funding to be appropriated by

the time of contract award. Id. at 24481 .

       For Fiscal Year (FY) 2021 , Congress appropriated to NASA significantly less money

than had been requested in the budget for the HLS program.1 Appropriation of less funding than

had been requested was not unusual for NASA, and NASA had planned for different potential

funding scenarios. AR Tab 108b26a at 103671. The funding available, however, was

insufficient to support the award of two Option A contrncts. AR Tab 77 at 63039, 63043; Tab 64

at 62893-94; Tab 108b26a at 103671-74.

       Specifically, Blue Origin's proposal requested                in FY 2021 milestone

payments; Dynetics proposed                   in such payments; and SpaceX's initial proposal

requested              . AR Tab 108b67a at 105010 (citing AR Tabs 32d.87, 33d.12, 34d.33).

Although each proposal exceeded the $345 million that NASA determined was available for FY

2021 Option A milestone payments, SpaceX's proposal exceeded that amount by

while Blue Origin's proposal exceeded it by                and Dynetics's proposal exceeded it by

             . Id. NASA concluded that, given the size of the overall contract, the

difference between its available FY 2021 funding and SpaceX's proposed milestone payments




   1
      NASA requested $3 .4 billion for the development oflander systems. Office of
Management and Budget, "Budget of the United States Government, Fiscal Year 2021,"
available at https://www.govinfo.gov/app/collection/budget/2021 (last visited September 25,
2021), at 101. Congress appropriated $850 rnillion for the HLS program. AR Tab 108b26a at
103671; 166 Cong. Rec. H7879-01 , H7946 (Dec. 21 , 2020). Of this figme, NASA determined
that $345 million would be available for Option A contract payments in FY 2021, as the rest was
required to fund other commitments, including the Base Period contracts. AR Tab 108b26a at
103672-73.


                                                19
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 28 of 85




was "likely not an insmmountable situation given the flexibilities that NASA had built into the

tenns of the Option A solicitation." AR Tab 108b26a at 103673.

       Although NASA maintained its "desire to preserve a competitive environment at this

stage of the HLS Program," it dete1mined that two Option A awards would not be feasible given

the available funding an d the prices proposed by the offerors. AR Tab 77 at 63039. Because

SpaceX's proposal was "both ve1y highly rated from a technical and management perspective

and that also had, by a wide margin, the lowest initially-proposed price," the SSA made an

initial, conditional selection of SpaceX, enabling the contracting officer to engage in post-

selection negotiations with SpaceX. Id.

               3.      Post-Selection Negotiations And Award

       As stated, NASA's selection of SpaceX at this stage of the procm ement was "non-final"

and conditional, an d did not amount to a decision to award an Option A contract to SpaceX. Id.;

AR Tab 64 at 62893. Instead, "selection," in this context, merely enabled NASA to enter into

post-selection negotiations with SpaceX. AR Tab 64 at 62892-94. Indeed, the selection of

SpaceX did not even preclude the possibility of award to an other Option A offeror. Id. at 62893-

94. Instead, the SSA made the dete1mination that it was in NASA's best interests, given the

available funding and prices proposed by the offerors, to select an d enter into post-selection

negotiations with the highest rated an d lowest priced offeror, SpaceX, then dete1mine, following

th ose negotiations, wheth er any fmth er negotiations were in NASA's best interests. Id. at 62894.

       In designing the Option A solicitation, NASA had consciously expanded its flexibility in

post-selection negotiations as compared with those pennitted in the Base Period solicitation. AR

Tab108b55-1 02a at 104673-74; compare AR Tab 108a-002 at 65676 with Tab 27 at 24434.


                                                 20
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 29 of 85




Pursuant to the solicitation and at the direction of the SSA, the contracting officer opened post-

selection negotiations with SpaceX, requesting that SpaceX make limited proposal revisions to

address areas of its proposal that NASA hoped to see improved. AR Tab 64 at 62894; Tab 63.

In its letter to SpaceX opening negotiations, NASA made cleai· that SpaceX would only be

permitted to make proposal revisions to the areas NASA identified as open to revision, which

included pricing te1m s - including, in paiiicular, the phasing of payments in light of funding

availability - and the addition of FRRs for suppo1iing spacecraft. AR Tab 63 at 62886, 62888.

       In its negotiations letter to SpaceX, NASA used the common strategy of presenting its

negotiating position in the strongest possible te1m s, anticipating that a compromise would be

adopted. AR Tab 63; Tab 108b55-102a at 104694. The letter requested that SpaceX revisit its

pricing for two different contract line item numbers (CLINs), adjust its payment phasing to

accommodate NASA FY 2021 funding limitations, and adjust its proposal to include additional

FRRs. AR Tab 63 at 62888-90. NASA highlighted the fact that the solicitation called for FRRs

to ce1iify that suppo1iing spacecraft were ready for flight (id. at 62889, emphasizing solicitation

language), which would not be feasible during an FRR conducted after suppo1iing spacecraft had

ah eady launched. Id. at 62889-90. NASA fuiiher noted "the unique attributes of [SpaceX's]

proposed Supporting Spacecraft concept of operations." Id. at 62890. In light of these and other

rationales set fo1ih in its letter, NASA, therefore, requested that SpaceX add additional FRRs to

its proposal as follows:

                (1) A single comprehensive Tanker Starship Suppo1i ing Spacecraft
               FRR no later than two weeks prior to the first launch of the Tanker
               Stai·ship Suppo1i ing Spacecraft that will address flight readiness for
               the entire Tanker Starship Suppo1iing Spacecraft launch campaign;
               (2) a Depot Stai·ship FRR no later than two weeks prior to the launch
               of the Depot Stai·ship; and (3) within Attachment 12 only, NASA

                                                 21
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 30 of 85




                also requests that your fnm include potential "delta-FRRs" that
                would be ti·iggered to occur in the event of anomalies, mishaps,
                configuration changes, or other issues directly relevant to flight
                readiness, if and when such issues arise.

Id. at 62890.

       On April 7, 2021, SpaceX submitted a revised proposal, which adjusted its payment

phasing approach to accord with NASA's available funding and added FRRs for its proposed

HLS depot and tanker Starship campaign flights. See AR Tab 68 at 62902-03. Although

SpaceX's payment phasing revisions made award to SpaceX feasible with NASA's available

funds, SpaceX did not reduce its overall pricing. AR Tab 77 at 63039. As such, NASA

dete1mined that, because award to SpaceX would consume essentially all of NASA's available

funds in the coming fiscal year, it would not be in NASA's interest to select one or more of the

additional Option A offerors, Blue Origin or Dynetics, to enter into post-selection negotiations.

Id.

       Accordingly, after a final review of the SEP reports for all offerors and of SpaceX's

revised proposal, the SSA made the final dete1mination to award an Option A conn-act to

SpaceX. Id. at 63039-40. The SSA explained her rationale for this decision at length, explaining

in particular that she "thoroughly reviewed the evaluation repo1i for each offeror prepared by the

SEP," concluding that "this evaluation record has a rational basis, is thoroughly documented, and

provides me with infonnation regarding the qualitative merits and drawbacks of each offeror 's

proposal," and that she "consider[ed] each proposal on its own individual merits" and exercised

"independent judgment as the Agency official solely responsible for selections in this

procurement." Id. at 63043. Although the SSA again explained that NASA prefened to make

two Option A awards, in light of the funds available and the prices proposed, two awards would

                                                22
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 31 of 85




not be feasible. Id. The SSA, therefore, detennined that she "must first consider the merits of

making a contrnct awar d to the offeror that is most highly rated and has the lowest price-

SpaceX." Id. at 63044.

        In so doing, th e SSA highlighted several aspects of SpaceX's proposal that, in her expert

discretion, provided paiiicular value for NASA. Id. at 63045-49. She also considered weaker

aspects of SpaceX's proposal that tempered the positive aspects of its approach . Id. at 63047.

With regai·d to SpaceX's proposed technical approach, the SSA concluded that "the qualitative

atti·ibutes of SpaceX's aggregated sti·engths and its aggregated weaknesses are offsetting and that

commensurate risk accompanies th e meritorious aspects of SpaceX's technical approach,"

justifying its "Acceptable" technical rating. Id. at 63048. With regai·d to management approach,

the SSA concluded that "SpaceX's man agement approach is of exceptional merit an d fully

responsive to the objectives of the solicitation," an d that "th e qualitative atfributes of SpaceX's

aggregated strengths, including its rating of High for its Base Period Perfonnan ce, far outweigh

th e qualitative atti·ibutes of its evaluated weaknesses, which were relatively minor." Id. at 63049.

        Overall, the SSA concluded that "SpaceX's proposal is meritorious and advantageous to

th e Agency, and that it aligns with th e objectives as set forth in this solicitation." Id.

Specifically, she concluded that "SpaceX's acceptable technical approach coupled with its

outstan ding man agement approach provide abundant value for NASA at its Total Evaluated

Price." Id. at 63049-50. Noting th at, after post-selection negotiations, "the Agency's budget

now pennits the awar d of a conti·act to SpaceX," the SSA decided to award an Option A contract

to SpaceX. Id. at 63050.




                                                   23
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 32 of 85




       The SSA went on to examine the proposals of the other two Option A offerers, Blue

Origin and Dynetics, under each evaluation factor. Id. at 63050-60. With regard to Blue Origin,

the SSA concluded that, while its proposed technical approach was, "competent, of moderate

merit, and represents a credible response to the BAA objectives, the qualitative attributes of its

aggregated strengths are offset by the countervailing qualitative atti·ibutes of its aggregated

weaknesses," and was properly rated as "Acceptable." Id. at 63053. For its price, the SSA noted

that "the SEP did identify two instances of proposed advance payments within Blue Origin's

proposal," and that, pursuant to the solicitation, "proposals containing any advance payments are

ineligible for a conti·act award." Id. at 63054. The SSA "concur[ed] with the SEP 's assessment

that these kickoff meeting-related payments are counter to the solicitation's instructions and

render Blue Origin's proposal ineligible for award," but noted that, if it detennined that it was in

its interest, NASA could elect to engage in "discussions or negotiations with Blue Origin, either

of which would provide an opportunity for it to submit a compliant revised proposal." Id. With

regard to Blue Origin's management approach, the SSA concluded that it was "of high merit and

fully responsive to the objectives of the solicitation," and that it was "properly rated as Ve1y

Good." Id. at 63056.

       Overall, the SSA concluded that "Blue Origin's proposal has merit and is largely in

alignment with the technical and management objectives set forth in the solicitation." Id.

However, the SSA decided not to award an Option A conti·act to Blue Origin, because she found

"that its proposal does not present sufficient value to the Government when analyzed pursuant to

the solicitation's evaluation criteria and methodology." Id. Specifically, the SSA stated that she

"considered whether it may be in the Government's best interests to engage in price negotiations


                                                 24
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 33 of 85




to seek a lower best and final price from Blue Origin," but that, "given NASA's cunent and

projected HLS budgets, it is my assessment that such negotiations with Blue Origin, if opened,

would not be in good faith." Id. She explained that, " [a]fter accounting for a contrnct award to

SpaceX, the am ount of remaining available funding is so insubstantial that, in [her] opinion,

NASA [could not] reasonably ask Blue Origin to lower its price for the scope of work it has

proposed to a figure that would potentially enable NASA to afford making a contract award to

Blue Origin." Id. She detennined that NASA "[ did] not have enough funding available to even

attempt to negotiate a price from Blue Origin that could potentially enable a contract award." Id.

       After reviewing in detail her assessment of Dynetics's proposal, the SSA summarized her

conclusion that the award of a single Option A contract to SpaceX was in the best interests of the

Agency. Id. at 63060. She concluded by stating:

               This contract award is the catalyst for developing a critical element
               needed for the initial Ali emis missions- a human lander-to return
               astronauts to the Moon, including the first woman to touch the lunar
               surface. This Option A selection represents a critical step, but is by
               no means the last step, in NASA's investment in and facilitation of
               lunar transportation service providers. With this award and NASA's
               fo1ward effo1is for the acquisition of long-tenn recuning human
               lunar landing services, NASA is leading a sustainable return to the
               Moon, and we are doing it with our commercial and international
               paiiners to lead innovation and expand our knowledge for future
               lunai· missions, looking towai·ds Mai·s.

Id.

II.    Procedural History

       Following NASA's decision to award a single Option A contract to SpaceX, Blue Origin

and Dynetics filed protests with the Government Accountability Office (GAO). AR Tab

108b67a at 105005. The protests "primai·ily contend[ed] that the agency was required to open


                                                25
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 34 of 85




discussions, amend, or cancel the Option A BAA when NASA, after the receipt of proposals,

determined that it had less funding than it needed to support multiple awards for the HLS

program ... [and] that NASA unreasonably evaluated proposals." Id. On July 30, 2021, in a

lengthy decision discussing the issues in detail, the GAO denied the protests. Id.

       The GAO found no merit to the protesters' arguments regarding NASA's decision to

make a single award pursuant to the Option A solicitation. Id. at 105024. The GAO recognized

that agencies enjoy broad discretion in acquiring research and development, including with

respect to the number of contract awards to make, and that even when a solicitation announces

an intent to make multiple awards, no legal obligation accompanies that statement of intent. Id.

at 105024-25. In this paiiicular procurement, the GAO recognized that the solicitation 's plain

tenns "expressly reserved NASA's right to make no, one, or multiple awai·ds, and clearly

advised potential offerors that the number of awai·ds was contingent on available funding." Id. at

105025. As the GAO concluded, " [s]imply put, there was no requirement for multiple awai·ds in

the solicitation, or under applicable procurement law or regulation ." Id.

       Next, the GAO found no merit to the protesters ' arguments that NASA was required,

upon leaining that the available funds would not suppo1i multiple awai·ds, to notify the offerors

and pennit revised proposals. Id. at 105027. The GAO concluded that "NASA's ultimate

available funding for the HLS program did not constitute a change in NASA's requirements

because the solicitation and the applicable provisions in FAR part 35 unequivocally put offerors

on notice that any awai·d decision was subject to available funds." Id. at 105028. Specifically,

the GAO found that " [t]he protesters fail[ed] to point to any material requirements that were




                                                26
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 35 of 85




descoped, reduced, or othe1w ise changed as a result of NASA identifying less available HLS

program funding than it had originally anticipated." Id. at 105030.

        Likewise, the GAO found no merit to the protesters' argument that NASA acted

improperly by holding post-selection negotiations only with SpaceX, rather than conducting

discussions with all offerors. Id. The GAO found that "the Option A BAA expressly notified

offerors no less than three times that NASA could evaluate proposals and award contracts

with out conducting discussions or post-selection negotiations," and warned that offerors should

submit an initial proposal using its most favorable te1m s. Id. at 105031. Moreover, the GAO

found that "an agency conducting post-selection negotiations in a BAA procurement [is]

generally under no obligation to follow the specific requirements for discussions set forth in FAR

paii 15." Id. (internal quotation mai-Ics and citation omitted) . In addition to finding this protest

ground, which challenged the unambiguous te1ms of the solicitation, to be untimely, id. at

105033, the GAO found " no basis to conclude that NASA's decision to limit post-selection

negotiations only to SpaceX was ai·bitraiy or evidence of bad faith." Id. at 105032.

       Next, the GAO rejected "a multitude of objections to the agency's evaluation of

proposals," finding that, "on balance, NASA's evaluation was reasonable, adequately

documented, and in accordance with the requirements of the Option A BAA and applicable

procurement law." Id. at 105036. Because Blue Origin has not raised these issues in its

complaint, we will not finth er detail these unsuccessful challenges here.

        Likewise, the GAO rejected a number of challenges to NASA's evaluation of SpaceX's

proposal, finding that "the protesters' objections fail to provide any bas is on which to sustain the

protests." Id. at 105074. These challenges, the GAO found, illustrate "exactly why discretion is


                                                  27
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 36 of 85




due when NASA is seeking innovative research and development approaches to fulfilling

important scientific and engineering objectives." Id. at 105071.

       Finally, in a supplemental protest ground that Blue Origin c~mies over to this litigation,

the GAO examined the allegation that NASA waived the solicitation's FRR requirement for

SpaceX. Id. at 105074-80. In a comparatively cmiailed analysis of the solicitation language, the

GAO concluded that "the Option A BAA required an FRR before each launch of each HLS

element, SpaceX's three proposed FRRs--or one for each type of HLS element- were

insufficient when SpaceX's concept of operations will require 16 total launches." Id. at 105076

(emphasis in original).

       The GAO, however, neve1iheless denied this protest ground, because "the protesters have

failed to establish any reasonable possibility of resulting competitive prejudice." Id. at 105077.

The GAO found that, in determining whether an offeror could be prejudiced by the alleged

waiver of a requirement for another offeror, "the pe1iinent question is whether the protester

would have submitted a different offer that would have had a reasonable possibility of being

selected for award had it known that the requirement would be waived." Id. The GAO

explained that neither protester even alleged that they "could or would have changed their

proposals to substantially increase their likelihood of receiving the award had they known of the

waiver of the FRR requirement." Id. The GAO fuii her explained that, as compared with that of

SpaceX, Blue Origin's proposed concept of operations, "which contemplated a single launch for

each of the protester's proposed HLS element types," was "materially different." Id. at 105077-

78. Thus, the GAO found, "Blue Origin cannot reasonably establish how it could have improved




                                                28
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 37 of 85




the competitiveness of its proposal had it known that the agency would relax the FRR

requirement." Id. at 105078.

       Indeed, throughout its decision and reaffnmed at its conclusion, the GAO made a much

broader finding with regard to the protesters' inability to establish competitive prejudice. Citing

precedent from the United States Comi of Appeals for the Federal Circuit, the GAO explained

that, "to establish competitive prejudice, ... 'the protester's chances of securing award must not

have been insubstantial. "' Id. at 105080 (quoting Info. Tech. & Apps. C01p. v. United States, 316

F.3d 1312, 1319 (Fed. Cir. 2003)). Throughout the decision, the GAO repeatedly expressed

doubt that Blue Origin or Dynetics could establish competitive prejudice even if there were any

basis to their allegations of eITor, which the GAO largely found to be meritless. See, e.g., id. at

105036-37, 105045, 105077-80. In ultimately denying the protests, the GAO concluded that:

               Even accounting for the waiver, and even allowing for the
               possibility that the protesters could prevail on some small subset of
               their challenges to NASA's evaluation, the record reflects that
               NASA's evaluation was largely reasonable, and the relative
               competitive standing of the offerers under the non-price factors
               would not materially change. In light of the broad discretion
               afforded NASA under FAR paii 35 to select the most suitable
               proposal to fund and its available funding for the HLS program, it is
               not apparent that the protesters, as detailed herein, have
               demonstrated that they would have had a substantial chance that
               they would have received the award but for the alleged eITors in the
               procurement process.

Id. at 105079-80.

       On August 13, 2021, Blue Origin filed its complaint in this Court.




                                                 29
             Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 38 of 85




                                               ARGUMENT

I.          Legal Standards

                    A.      Standard Of Review For A Motion To Dismiss For Lack Of
                            Jurisdiction, And Standing In A Procurement Challenge

            It is axiomatic that, if this Comi does not possess subject matter jurisdiction to entertain

     the claims in the complaint, the Comi must dismiss the complaint. RCFC 12(b)(l ). When

     deciding a RCFC 12(b) motion, a " [d]etennination of jurisdiction starts with th e complaint,

     which must be well-pleaded in that it must state the necessa1y elements of the plaintiff's claim,

     independent of any defense that may be inte1posed." Holley v. United States, 124 F.3d 1462,

     1465 (Fed. Cir. 1997) (citations omitted) . " [C]oncluso1y allegations unsuppo1ied by any factual

     asse1iions will not withstand a motion to dismiss." Dyck v. Albertelli Law, 98 Fed. Cl. 624, 629

     (2011) (quoting Briscoe v. LaHue, 663 F.2d 713 , 723 (7th Cir. 1981), aff'd, 460 U.S . 325

     (1983)). When the Comi 's subject matter jurisdiction is at issue, the plaintiff bears the burden of

     establishing jurisdiction by a preponderance of th e evidence. Brocade Commc 'ns Sys., Inc. v.

     United States, 120 Fed. Cl. 73, 76 (2015) (citing Reynolds v. Army & Air Force Exch. Serv. , 846

     F.2d 746, 748 (Fed. Cir. 1988)). In deciding a motion to dismiss for lack of subject matter

 jurisdiction, the Comi may consider evidentiaiy matters outside the pleadings. Indium C01p. of

 Am. v. Semi-Alloys, Inc. , 781 F.2d 879, 884 (Fed. Cir. 1985) (citation omitted).

            "A paiiy seeking to establish jurisdiction under § 1491(b)(l) must show that it

     meets§ 1491(b)(l)'s standing requirements, which ai·e 'more sti·ingent' than the stan ding

     requirements imposed by Aliicle III of the Constitution. Diaz v. United States, 853 F.3d 1355,

     1358 (Fed. Cir. 2017) (citing Weeks Marine, Inc. v. United States, 575 F.3d 1352, 1359 (Fed.

     Cir. 2009). This Comi's bid protest jurisdiction encompasses actions "by an interested paiiy

                                                     30
          Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 39 of 85




objecting to a solicitation by a Federal agency for bids or proposals for a proposed contrnct or to

a proposed award or the award of a contract or any alleged violation of statute or regulation in

connection with a procurement or a proposed procurement." 28 U.S.C. § 1491(b)(l ). "The

statuto1y ten n ' interested party' has been held to have a particular meaning under § 1491(b)."

SEKRI, Inc. v. United States, 152 Fed. CL 742, 747 (2021). "Based on the [Competition in

Contracting Act] definition of ' interested party,' ... ' standing under § 1491(b)( l) is limited to

actual or prospective bidders or offerers whose direct economic interest would be affected by the

award of the contract or by failure to award the contract. "' Id. at 747-48 (quoting Am. Fed 'n of

Gov 't Emps., AFL-CIO v. United States, 258 F.3d 1294, 1302 (Fed. Cir. 2001).

          "To satisfy § 1491(b)(1) 's standing requirements, a plaintiff must make two

showings." CliniComp Int'/, Inc. v. United States, 904 F.3d 1353, 1358 (Fed. Cir. 2018) (citing

Diaz, 853 F.3d at 1358). "First, it must show that it is an ' interested party. ' This requires the

plaintiff to show that it is 'an actual or prospective bidder' and has a ' direct economic interest ' in

the procurement or proposed procurement." Id. (citations omitted). Critically, " [t]o prove a direct

economic interest, a party must show that it had a substantial chance of winning the

contract." Id. (quoting Digitalis Educ. Sols., Inc. v. United States, 664 F.3d 1380, 1384 (Fed. Cir.

2012)).

          "Second, the plaintiff must show that it was prejudiced by a significant enor in the

procurement process." CliniComp , 904 F.3d at 1358 (citing Labatt Food Serv., Inc. v. United

States, 577 F.3d 1375, 1378 (Fed. Cir. 2009); Info. Tech. & App lications C01p . v. United States,

316 F.3d 1312, 1319 (Fed. Cir. 2003)). "A paiiy has been prejudiced when it can show that but

for the error, it would have had a substantial chance of securing the contract." CliniComp , 904


                                                  31
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 40 of 85




F.3d at 1358 (quoting and adding emphasis to Labatt, 577 F.3d at 1378) (internal quotation

marks omitted).

       An impo1iant distinction is that, " [a]lthough the inquiries may be similar, prejudice must

be shown either as pali of, or in addition to, showing a direct economic interest." CliniComp, 904

F.3d at 1358 (citing Labatt, 577 F.3d at 1379-80). " [C]omis should not 'conflat[e] the standing

requirements of prejudicial en or and economic interest,' because doing so would mean that

'there would be no such thing as an en or non-prejudicial to an economically interested offeror in

a bid contest."' CliniComp, 904 F.3d at 1358 (quoting Labatt, 577 F.3d at 1379-80; also citing

Diaz, 853 F.3d at 1358- 59).

       Finally, " [i]t is basic that 'because the question of prejudice goes directly to the question

of standing, the prejudice issue must be reached before addressing the merits."' Labatt, 577 F .3d

at 1378-79 (quoting Info. Tech. , 316 F.3d at 1319) (other citations omitted). " [P]rejudice (or

injmy) is a necessa1y element of standing." Info. Tech., 316 F.3d at 1319 (quoting Myers

Investigative & Sec. Servs. v. United States, 275 F.3d 1366, 1370 (Fed. Cir. 2002)). " [A]

plaintiff must demonstrate standing for each claim he seeks to press[.]" Advanced Concepts

Enterprises, Inc. v. United States, 142 Fed. CL 187, 201 (2019) (quoting Davis v. Federal

Election Comm 'n, 554 U.S . 724, 734 (2008)) .

               B.      Standard Of Review For A Motion To Dismiss For Failure To State A
                       Claim Upon Which Relief Can Be Granted, And The Blue & Gold
                       Fleet Waiver Rule

       A motion to dismiss pursuant to the Blue & Gold Fleet waiver rnle is properly considered

under RCFC 12(b)(6). SEKRI, 152 Fed. CL at 752 (citing Inserso Corp. v. United States, 961

F.3d 1343 (Fed. Cir. 2020)). "Dismissal for failure to state a claim upon which relief can be


                                                 32
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 41 of 85




granted ' is appropriate when the facts asse1ied by the claimant do not entitle him to a legal

remedy."' SEKRI, 152 Fed Cl. at 754, (quoting Lindsay v. United States, 295 F.3d 1252, 1257

(Fed. Cir. 2002)). Stating "a claim requires a complaint with enough factual matter (taken as

tiue) to suggest" an entitlement to relief. Bell Atl. C01p. v. Twomb~y, 550 U.S. 544, 556 (2007)

(inte1preting Federal Rule of Civil Procedure 12(b)(6)) (citations omitted). "Factual allegations

must be enough to raise a right to relief above the speculative level." Id. at 555. The Comi

should begin its analysis by identifying an d rejecting concluso1y allegations, because allegations

not suppo1ied by specific facts "are not entitled to the assumption of tiuth." Ashcroft v. Iqbal,

556 U.S. 662, 679 (2009). The Court should next consider all "well-pleaded factual allegations .

. . assume their veracity ... then detennine whether they plausibly give rise to an entitlement to

relief' and dismiss them pursuant to Rule 12(b)(6) if they do not. Id.

       In th e seminal Blue & Gold Fleet case, the Federal Circuit expressly recognized a waiver

rnle in bid protest actions in the Comi of Federal Claims, holding that "a paiiy who has the

oppo1iunity to object to th e ten ns of a government solicitation containing a patent eITor an d fails

to do so prior to the close of the bidding process waives its ability to raise the same objection

subsequently in a bid protest action in th e Court of Federal Claims." 492 F.3d at 1313. When

waiver is found, " [d]ismissal is mandato1y, not discretionaiy." Per AarsleffAIS v. United States ,

829 F.3d 1303, 1317 (Fed. Cir. 2016) (Reyna, J., concmTing).

       In announcing th e waiver rnle, th e Federal Circuit relied on the requirement in this

Comi ' s jurisdictional sta.tute that the Comi "shall give due regard to the interests of national

defense and national security and the need for expeditious resolution of the action ." Blue &

Gold Fleet at 1313 (quoting 28 U.S.C. § 1491(b)(3)) (emphasis added by the Federal Circuit) .


                                                  33
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 42 of 85




Additionally, the Comi of Appeals relied on the rationale underlying the doctrine of patent

ambiguity, as applied in the bid protest context. The Comi reasoned that a waiver rnle was

needed to prevent a contrnctor from "taking advantage of the government and other bidders" by

strntegically waiting to raise solicitation defects until after award, when, if it did not prevail, it

would be able to restaii the process, anned with increased knowledge of its competitors. Id. at

1313-14. In other words, " [v]endors cannot sit on their rights to challenge what they believe is

an unfair solicitation, roll the dice and see if they receive awai·d and then, if unsuccessful, claim

the solicitation was infom." Id. (quotingArgencord Mach. & Equip., Inc. v. United States, 68

Fed. Cl. 167, 175 n.14 (2005)). Moreover, a waiver rnle prevents the Government from having

to expend time and resomces to conduct a potentially needless procmement decision and then to

engage in "costly after-the-fact litigation" that could have been avoided by the contractor timely

raising any complaints about the competition dming the bidding process. Id.

        The Federal Circuit also found support for the waiver rnle in the regulation that governs

bid protests before the Government Accountability Office (GAO). Id. As the Comi explained, a

GAO regulation "requires that ' [p]rotests based upon alleged improprieties in a solicitation

which ai·e appai·ent prior to bid opening or the time set for receipt of initial proposals shall be

filed prior to bid opening or the time set for receipt of initial proposals."' Id. (quoting 4 C.F.R.

§ 21. l (a)). In light of these strnng legal unde1pinnings and fundamental fairness concerns, the

Comi of Appeals recognized the waiver rnle that has since drawn its name from the Blue & Gold

Fleet case.

        Although the waiver rnle as stated in Blue & Gold Fleet required that a challenge be

brought before the close of the bidding process, the Federal Circuit later made cleai· that the rnle


                                                   34
         Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 43 of 85




extends beyond that date, and encompasses "all situations in which the protesting party had the

oppo1tunity to challenge a solicitation before the award and failed to do so." COM/NT Sys.

Corp. v. United States, 700 F.3d 1377, 1382 (Fed. Cir. 2012). Moreover, the Federal Circuit has

recently held that " [e]nforcing our forfeiture rnle implements Congress's directive that courts

'shall give due regard to ... the need for expeditious resolution ' of protest claims." Inserso Corp.

v. United States, 961 F.3d 1343, 1352 (Fed. Cir. 2020). The Comi stressed that, had the plaintiff

raised its concerns during the competitive process, the agency could have worked to mitigate or

eliminate any issue. Id. Pennitting it to pursue its forfeited claims after award would pennit it to

seek relief it could have gotten from the agency earlier, before the agency invested significant

resources in evaluating proposals. Id. The Comi, therefore, found that, because it had not

objected to the solicitation tenns before the submission of final proposals, it had forfeited its

right to relief. Id.

                C.     Standard Of Review For A Motion For Judgment On The
                       Administrative Record And Standard For Procurement Challenges

        Pursuant to RCFC 52.1 , this Comi reviews an agency's procurement decisions to

detennine whether the plaintiff has met its burden of proof based upon the evidence in the

aheady-existing adtninistrative record. K iewit Infrastrncture W. Co. v. United States , 147 Fed.

Cl. 700, 707 (2020) (citations ornitted). The standards applicable to a motion for judgment on

the adtninistrative record differ from those applied in the context of a Rule 56 motion for

summaiy judgment. Bannum, Inc. v. United States , 404 F.3d 1346, 1355-56 (Fed. Cir. 2005).

Unlike a Rule 56 motion, "proceeding under RCFC [52.1] merely restricts the evidence to the

agency record." Id. at 1356. "Thus, the central inquny on a motion for smnmaiy judgment --

whether the movant has proved its case as a matter of fact and law or whether a genuine issue of

                                                 35
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 44 of 85




material fact precludes summaiy j udgment -- has no bearing on a review of the administrative

record in a bid protest." Tech Sys., Inc. v. United States, 50 Fed. Cl. 216, 222 (2001); accord

Bannum, 404 F.3d at 1356 (holding that RCFC [52.1] requires a different standar d ofreview

with out the burden-shifting an d presumptions required pursuant to RCFC 56).

        Unlike a motion for summa1y judgment, the question of whether an issue of m aterial fact

is disputed has no bearing upon a review of the administrative record in a record review case,

such as a bid protest. The inquiiy, instead, is whether, given all th e disputed an d undisputed

facts, the plaintiff has met its burden of proof that the contracting officer 's decision was

ai·bitraiy, capricious, or contraiy to law. Tech Sys. , 50 Fed. Cl. at 222 (citing CCL Serv. Corp. v.

United States, 48 Fed. Cl. 113, 119 (2000)) . In reviewing an agency's action under this naiTow,

deferential stan dai·d, "the focal point for judicial review should be the administrative record

ah eady in existence, not some new record made initially in the reviewing court." Florida Power

& Light v. Lorion, 470 U.S. 729, 743-44 (1985) (quoting Camp v. Pitts, 4 11 U.S. 138, 142

(1973)); see also Bannum, 404 F. 3d at 1356 (holding that RCFC [52.1] is designed to provide

for expedited trial on a paper record and that the trial comi is required to m ake factual findings

based on the record evidence) .

        "The Comi evaluates bid protests under th e Administrative Procedure Act's standai·d of

review of agency action." Kiewit, 147 Fed. Cl. at 707 (citing 28 U.S .C. § 1491(b)); Bannum,

Inc. , 404 F .3d at 1351) . Judicial review of the agency's actions in bid protest cases is not a de

novo proceeding . Rather, the scope of the review is limited to the administrative record. The

proper stan dai·d of review is whether the agency action was arbitra1y, capricious, an abuse of

discretion, or othe1wise not in accordance with law based solely on the administrative record. 28


                                                  36
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 45 of 85




U.S.C. § 1491(b)(l), (4); 5 U.S.C. § 702, 706(2)(A); Impresa Construzioni Geom. Domenico

Garufi v. United States, 238 F.3d 1324, 1332 (Fed. Cir. 2001). The Comi must consider whether

the decision was based on consideration of the relevant factors an d whether there has been a

clear en or in judgment. Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971),

abrogated on other grounds by Califano v. Sanders, 430 U.S . 99 (1977).

       " [T]he Comi ' s review of a procming agency's decision is 'highly deferential. "' Kiewit,

147 Fed. CL at 707 (quoting Advanced Data Concepts v. United States, 216 F.3d 1054, 1058

(Fed. Cir. 2000)). In reviewing the agency's procmement decisions, the Comi should recognize

that the decision is entitled to a "presumption ofregularity," Impresa, 238 F. 3d at 1338,

(citations omitted), an d that the Comi should not substitute its judgment for that of the agency.

Cincom Sys. , Inc. v. United States, 37 Fed. CL 663,672 (1997); see also MW. Kellogg Co., v.

United States, 10 CL Ct. 17, 23 (1986) (holding that "deference must be afforded to an agency's .

. . procm ement decisions if they have a rational basis and do not violate applicable law or

regulations"). Thus, the disappointed bidder "bears a heavy bmden," and the procm ement

officer is "entitled to exercise discretion upon a broad range of issues confronting them ."

Impresa, 238 F.3d at 1332-33 (citations omitted). This bm den "is not met by reliance on [the]

pleadings alone, or by concluso1y allegations and generalities." Bromley Contracting Co. v.

United States, 15 CL Ct. 100, 105 (1988) (citation omitted). In paiiicular, "the minutiae of the

procm ement process in such matters as technical ratings ... involve discretionaiy determinations

of procm ement officials that a comi will not second guess." E.W. Bliss Co. v. United States, 77

F.3d 445, 449 (Fed. Cir. 1996)




                                                 37
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 46 of 85




       Finally, even if the protester can show any en ors in the procurement process, the

protester must then show that it was "significantly prejudiced" by th ose en ors. Bannum, 404

F.3d at 1353 (citations omitted). "A protester does not meet the prejudice requirement if the

protester's allegations, even if proven, would not change the results of the procurement process."

Seaborn Health Care, Inc. v. United States, 101 Fed. Cl. 42, 48 (2011) (citation omitted).

II.    The Court Should Dismiss Blue Origin's Complaint Because It Has Not Established
       Standing

       As we will demonstrate below, each of Blue Origin's allegations of procurement enor is

without merit. Before the Comt may reach the merits, however, it must determine whether Blue

Origin has stan ding to press its claims. As we explain above, to establish that it has stan ding to

pursue its bid protest, Blue Origin must establish that, but for the procurement enors it alleges, it

would have had a substantial chance of winning awar d of an Option A contract. Blue Origin is

unable to make this showing because: A) its proposed price dramatically exceeded both NASA's

available funding and th e price of a more highly-rated offerer; B) as the GAO con ectly

determined, even if NASA had waived any solicitation requirements related to FRRs or other

reviews for SpaceX, Blue Origin has not shown that it could have benefited from a similar

waiver; C) even if Blue Origin were con ect that NASA was required to hold discussions with

Blue Origin or amend its solicitation, Blue Origin has not demonstrated that it would have had a

substantial chance of award; an d D) even if Blue Origin were conect that SpaceX's proposal

were deficient an d, thus not eligible for award, under this same logic Blue Origin's own proposal

would also be deficient and ineligible for award.




                                                 38
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 47 of 85




       A.      Blue Origin's Proposed Price So Far Exceeded Available Funding And
               SpaceX's Pricing That It Cannot Show A Substantial Chance Of Award

       At bottom, Blue Origin's case never gets off the ground, because of simple math . Blue

Origin proposed a price so high - requesting payments of more than- NASA's available

funding for FY 2021, more than                   times SpaceX's proposal for the same FY, and

with an overall price more than double that of a more highly-rated offeror, SpaceX - that it

simply cannot establish that it would have had a substantial chance to receive award absent the

enors it alleges. The Comt should give little if any weight to Blue Origin's self-serving position,

made after award was made to SpaceX at a price then made public and during its litigation

challenging that award, that it could dramatically lower its pricing. Moreover, even this alleged

offer still leaves Blue Origin's proposal priced higher than SpaceX, which NASA reasonably

assessed to have proposed a better approach with regard to the non-price factors. Accordingly,

Blue Origin cannot establish standing to pursue its protest, and the Comt should dismiss its

complaint.

       As we explain above, this procurement was conducted under FAR Pait 35 as a research

and development procurement under the tenns of a BAA. AR Tab 27 at 24473. Proposals were

not compai·ed against or competing against each other, but rather NASA evaluated each proposal

on its own merits for potential award. Id. NASA hoped to make multiple Option A awai·ds,

contingent on available funding being sufficient to suppo1t multiple awai·d and on one or more

offerers making a proposal for which NASA found awai·d to be in its best interest. Id. at 24480,

24481. In light of this strncture, Blue Origin lacks standing to challenge NASA's evaluation of

SpaceX's proposal at all, because Blue Origin was not competing against SpaceX, but hoping to

convince NASA that its proposal merited the investment of available NASA research and

                                                39
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 48 of 85




development funding. See, e.g., Kinemetrics, Inc. v. United States, No. 21 -1 626, 2021 WL

4237169, at *5 (Fed. Cl. Sept. 10, 2021) ("[B]road agency announcements ... arguably do not

give a disappointed offeror standing.") (citing defendant-intervenor brief); Microcosm, Inc., B-

277326, et al. , 97-2 CPD ,r 133 (Comp. Gen. Sept. 30, 1997); Glob. Aerospace Corp. , B-414514,

2017 CPD ,r 198 at *6 n. 5 (Comp. Gen. July 3, 2017).

       Moreover, Blue Origin simply cannot demonstrnte that, given its high pricing and the

limited funding available to NASA, it ever could have had a substantial chance of award,

inespective of the resolution of the procurement enors it alleges. For FY 2021 , NASA

determined that its available funding for milestone payments pursuant to any contract(s) under

HLS Option A was $345 million. AR Tab 108b26a at 103672-73. Blue Origin, however,

proposed                in FY 2021 milestone payments. AR Tab 108b67a at 105010 (citing AR

Tabs 32d.87). Although SpaceX also proposed FY 2021 milestone payments in excess of

NASA's available funds, SpaceX's proposal exceeded available funding by                   , while

Blue Origin's proposal exceeded the $345 million available by -              . Id. NASA

reasonably (and conectly, as it turns out) detennined that the             gap between the

available funding and SpaceX's proposed milestone payments was bridgeable. But Blue Origin

has not demonstrnted that the gap between its proposal and available funds, which was over

-     times larger, could have been bridged.

       Additionally, although the offerers were not competing against each other, the

solicitation made plain that any award or awards were contingent on available funds. E.g., AR

Tab 27 at 24481. It was perfectly reasonable for NASA to conclude that, given its available

funding, a single award to SpaceX, which submitted a proposal that was "both ve1y highly rated


                                                40
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 49 of 85




from a technical and management perspective and that also had, by a wide margin, the lowest

initially-proposed price," was in NASA's interest and consistent with the solicitation. AR Tab

77 at 63039. In analyzing prejudice, this Comi has te1med a large differential in proposed prices

"the proverbial elephant in the parlor," explaining that although "prejudice may be found despite

the existence of a price differential, it cannot be gainsaid that a significant difference in price,

when accompanied by nearly identical technical ratings, can and often does preclude such a

finding." Elec. Data Sys., LLCv. United States, 93 Fed. CL 416,436 (2010) (collecting cases).

        Blue Origin alleges that it could have changed its proposal to drastically lower the price,

move payments into later years, or make other changes to its approach and pricing, if NASA

were willing to make but "a single phone call." See, e.g ., Compl. ,r,r 111, 133, 136, 147, 150,

157, 161 , and 173. These allegations are entirely unsuppo1ied and inconsistent with the record.

        Blue Origin bears the bmden to establish its standing, and general factual allegations are

insufficient to bear this bmden at the final stage of litigation. Lujan v. Deft. of Wildlife, 504 U.S.

555, 561 (1992). In a bid protest, the final stage of litigation consists of cross-motions for

judgment on the administrative record, on which the comi conducts a "trial on a paper

record." See Bannum, 404 F.3d at 1356.

        First, NASA was under no obligation to come back to Blue Origin to ask it to improve its

proposal. Indeed, in three separate admonitions in the solicitation, NASA warned offerers that it

"may evaluate proposals and award contracts without conducting post-selection negotiations or

discussions with Offerers" and that, as a consequence, "each Offeror shall subrnit only one

proposal which represents its best approach to meeting the requirements of the solicitation." AR

Tab 27 at 24433 (emphasis omitted), 24473, see also 24481. Blue Origin's apparent expectation


                                                  41
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 50 of 85




that it may have a chance to improve the tenns of its proposal later in the process has no basis in

the law or in the solicitation.

        Second, Blue Origin's allegations that it would have drastically lowered its pricing and/or

proposed an entirely different approach are self-serving, made for litigation, contnuy to the

record, generally implausible, and, in at least one instance, logically incoherent. We will address

Blue Origin's illogical allegation that it would have proposed an entirely different approach in

light of different FRR requirements in the next section. Here, we address Blue Origin's

allegation that it was ready to drastically reduce its proposed price at any moment, had NASA

only asked. See, e.g ., Compl. ,r 111 . As we demonstrate above, NASA expressly warned

offerers to propose their best pricing in their initial proposals, as NASA may not hold

discussions or post-section negotiations. AR Tab 27 at 24433, 24473, 24481. This warning was

issued after Blue Origin dropped its proposed base period pricing in discussions, negating Blue

Origin's alleged expectation that it would be afforded the same opportunity in the Option A

procurement. See Compl. ,r 111. Blue Origin now alleges that it failed to heed that warning and

was willing to dramatically lower its pricing, including by waiving up to two billion dollars in

payments in the cmTent and next two fiscal years. Compl. ,r 111 . Blue Origin cites an open

letter, directed to NASA's Administrator and signed by Blue Origin's owner Jeff Bezos, which

Blue Origin, rather than just sending to NASA directly, posted on its website. The letter was not

sent to NASA during the procurement process, but posted publicly in the final stages of Blue

Origin's protest against NASA before the GAO. Blue Origin makes no attempt to demonstrate

how it would effectuate such an offer, or how it would be proper for NASA to accept such a non-

binding offer at this late stage of the procurement process, in the middle of a GAO protest. The


                                                42
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 51 of 85




Comi should see this letter for what it plainly is - pa1i of Blue Origin's litigation and public

relations strategy, not pali of its proposed approach in response to the solicitation. Finally, it is

wo1ih noting that, even if Blue Origin were to reduce its price by $2 billion, its price would still

exceed that of SpaceX by over $1 billion.

       Because Blue Origin cannot show that, given its significantly higher proposed pricing

and NASA 's limited available funding, it would have had a substantial chance of being awarded

a contract even if its allegations of procurement eITor are tiue, Blue Origin lacks standing to

pmsue the claims in its complaint, which should be dismissed.

       B.      Even If NASA Had Waived FRRs Or Other Milestone Reviews, Blue Origin
               Cannot Establish That It Would Have Had A Substantial Chance Of Award
               In Light Of Such A Waiver

       As we demonsti·ate fmiher below, the GAO's interpretation of the solicitation tenns was

incoITect, and NASA did not waive solicitation requirements for FRRs or other milestone

reviews for SpaceX. Even if NASA had done so, however, the GAO coITectly deten nined that

Blue Origin cannot demonstI'ate that it was prejudiced by such a waiver. AR Tab 108b67a at

105077-80. Because it cannot demonsti·ate that it was prejudiced even if the Comi were to

determine that NASA eITed, Blue Origin lacks standing to pmsue these claims, and the Comi

should dismiss them.

       In its complaint, Blue Origin, for the first time, alleges that, had it known that NASA was

willing to waive FRR and other review requirements, it "would have proposed a fundamentally

different technical approach- a single-element integrated lander." Compl. ~ 26. This allegation

was not advanced at the GAO, and is apparently advanced here to directly rebut a finding by the

GAO that was fatal to Blue Origin's protest there. Moreover, Blue Origin's allegation is


                                                  43
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 52 of 85




logically incoherent, and is flatly contrndicted by the record, by Blue Origin's public statements,

and even by the allegations in Blue Origin's complaint.

       Specifically, Blue Origin alleges that, had it known that NASA would waive FRR and

oth er review requirements, "Blue Origin would have engineered and proposed an entirely

different architecture with conesponding differences in technical, management, and price

ratings." Compl. ~ 13. Blue Origin alleges that it "would have proposed a large number of

launches and Low Eaii h Orbit rendezvous events, allowing for the incorporation of elements

such as a propellant depot in Low Ea1ih Orbit to be refueled by multiple launches." Id. In other

words, it would have proposed a solution similar to that proposed by SpaceX. Blue Origin

fuiiher alleges that, in this hypothetical scenario, it "would have been able to propose a

substantially lower price." Id.

       Blue Origin's allegations ai·e refuted by the administrative record, Blue Origin's public

statements, Blue Origin's complaint, and by basic logic. Blue Origin's allegations suggest that

the FRR and other review provisions were the one aspect of the solicitation holding Blue Origin

back from proposing a fai· superior and dramatically cheaper solution. But if this were tiue, Blue

Origin would logically have still been better off proposing this allegedly better and cheaper

solution, even accounting for many more FRRs. Blue Origin repeatedly speculates that, if

SpaceX had been required to propose the total of 16 FRRs that Blue Origin alleges were

required, SpaceX's total price would have increased by                 . See, e.g. , Compl. ~~ 22-

23. Even leaving aside the dubious credibility of this estimate, SpaceX's proposed price was

more than $3 billion lower than Blue Origin's. Even adding                  to SpaceX's price

leaves it more th a n - less expensive than Blue Origin. Additionally, it makes no


                                                 44
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 53 of 85




logical sense for Blue Origin to allege that, to save something on the order o

-      in extra readiness reviews, it proposed an entirely different approach that was less

technically advantageous, had less commercial application, and was billions of dollars more

expensive. These self-serving allegations are simply not credible, and the Court should give

them no weight.

       Moreover, if these review provisions of the solicitation were the one thing holding Blue

Origin back from the dramatically improved proposal it could have put before NASA, why did it

not approach NASA about these provisions and request a change? Before issuing the final

solicitation, NASA sent two draft versions to offerors, including Blue Origin, and answered

extensive questions about the draft solicitation and its provisions. See AR Tabs 11, 15, 17-20. If

NASA's proposed review provisions were tmly the one thing holding Blue Origin back from an

entirely different and dramatically better proposal, one might expect to see Blue Origin

imploring NASA to alter those provisions to pennit Blue Origin to propose its best solution.

Instead, the record does not reflect even a single question regarding the FRRs or other milestone

reviews. AR Tabs 17-20.

       Finally, Blue Origin's allegations are flatly contradicted by the administrative record,

Blue Origin's public statements, and Blue Origin's own complaint. Blue Origin's extensive

proposal materials give no hint that, as it alleges, it had ah-eady begun preparing a design for a

single-element lander suppo1i ed by suppo1i ing spacecraft and low-Eaith orbit rendezvous events.

Moreover, this alleged alternate solution sounds quite similai· to the concept of operations

proposed by SpaceX, which Blue Origin has repeatedly criticized in public statements, as well as

in in this litigation and the GAO litigation that preceded it, as "tremendously high risk and


                                                 45
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 54 of 85




immensely complex." Compl. ,i 2; see also Compl. ,i 28, AR Tab 108b49 at 104444.2 It strnins

credulity for Blue Origin to now allege that, but for the FRR and other review provisions of the

solicitation, it actually would have proposed a ve1y similar approach, only somehow better.

       Finally, Blue Origin alleges that, if it had proposed this entirely different hypothetical

approach, it "would have dramatically improved Blue Origin's evaluation, decreasing

weaknesses and increasing its strengths." Compl. ,i 26. But Blue Origin does not know that and

cannot know how NASA would have evaluated an entirely different hypothetical proposal that it

did not submit - this allegation is pure speculation. 3 As such, it cannot can y Blue Origin's

burden to demonstrate the potential for prejudice and, thus, that Blue Origin has standing to

pursue its allegations.

       C.      Even If NASA Had Held Discussions Or Amended The Solicitation, Blue
               Origin Cannot Establish That It Would Have Had A Substantial Chance Of
               Award

       As we demonstrate further below, there is no merit to Blue Origin's allegations that

NASA was required to hold discussions with Blue Origin or to amend the solicitation due to

allegedly changed requirements. Even if Blue Origin could prevail on these allegations,

however, it still could not demonstrate that it would have had a substantial chance of award, for

the reasons explained in the two previous subsections. Blue Origin's price so far exceeded the


   2
     For unknown technical reasons, the image on this page was dramatically reduced in size
during processing, and can be read only by increasing the zoom dramatically. For ease of
reference, a copy of this image without this fo1matting issue is attached to this motion.
   3
     Moreover, this allegation further demonstrates that Blue Origin's claim is not credible - if it
were able to propose a solution that would earn dramaticall hi her evaluation ratings, the
addition of milestone review events at the cost of less than                    should not have
prevented it from doing so.


                                                 46
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 55 of 85




funding available to NASA and the price proposed by a more highly rated offeror that Blue

Origin cannot show that it would have had a substantial chance of award even if NASA opened

discussions with it, or amended the solicitation to advise offerers that only one award could be

made. Blue Origin's arguments to the contraiy amount to no more than speculation, and do not

can y its burden to establish standing. Lujan v. Deft. of Wildlife, 504 U.S. at 561. Moreover,

Blue Origin's allegations that it could have proposed an entirely different and dramatically better

solution are simply not credible, as we have explained above. Blue Origin has not established

that its prospects for award would have changed even if NASA had opened discussion with Blue

Origin, or had amended its solicitation as Blue Origin demands. As such, Blue Origin lacks

standing to pursue these allegations, and the Comt should dismiss them.

       D.      If Blue Origin's Interpretation Of What Constitutes A Deficiency Were
               Correct, Blue Origin Would Have Been Ineligible For Award

       In its complaint, Blue Origin repeatedly alleges that NASA should have assigned a

deficiency, rather than a weakness, to SpaceX's proposal regarding FRRs or other milestone

reviews. See, e.g., Compl. ,i,i 18, 20-22. As we explain in detail below, Blue Origin is inco1Tect,

and NASA was well within its considerable discretion to assess a weakness to SpaceX rather

than a deficiency for the increased risk in SpaceX's proposed management approach entailed by

limiting NASA's involvement in the SpaceX-led FRRs it proposed prior to the launch of

supporting spacecraft, rather than conducting NASA-led FRRs.

       If Blue Origin were conect, however, that any time that NASA assesses that a proposal

falls sho1t of a solicitation provision in some respect, NASA must assign a deficiency, Blue

Origin's proposal would have wananted several deficiencies and would be ineligible for awai·d.

We respectfully submit that this serves to fuit her demonstrate that Blue Origin's allegations are

                                                47
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 56 of 85




wrong and that NASA's evaluation determinations were proper. In the event, however, that the

Comi were to adopt Blue Origin's harsh reading of the solicitation tenns, Blue Origin

neve1iheless cannot demonstrate that it had a substantial chance of receiving award, because

under its reading its proposal would be ineligible.

       In several examples described in the facts section above, NASA assigned weaknesses to

aspects of Blue Origin's proposal where Blue Origin fell sho1i, in one respect or another, of a

requirement announced in the solicitation. For example, Blue Origin was assigned a weakness

for its data rights asse1iions, regarding which the SEP stated that



                                                                         AR Tab 59a at 62691.

Similarly, Blue Origin was assigned a weakness for non-compliant fault tolerance in its Ascent

Element's manual control system, which the SEP stated "fail[ed] to meet an impo1iant mission-

related requirement." Id. at 62647. Additionally, in assessing a significant weakness for an issue

regarding Blue Origin's radio frequency communication links, the SEP noted that Blue Origin 's

proposal failed to meet "three key HLS requirement." Id. at 62654.

       Finally, in evaluating Blue Origin's proposal, both the SEP and SSA detennined that,

without revisions made pmsuant to discussions or post-selection negotiations, Blue Origin's

proposal would not be eligible for contract award because it included prohibited advance

payments. Id. at 62674; AR Tab 77 at 63054, 63056 n.1. As we explain fmi her below, NASA's

detennination that, had it concluded that award to Blue Origin would othe1w ise be in the

Govermnent's interests, it would have permitted Blue Origin to attempt to con ect its advance

payment issues in either discussions or post-selection negotiations refutes Blue Origin's


                                                 48
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 57 of 85




characterization of the nature of post-selection negotiations and the type ofrevisions that were

pen nissible pursuant thereto. Even if Blue Origin were co1Tect, however, Blue Origin's proposal

of advan ce payments expressly prohibited by the solicitation would have rendered it ineligible

for awar d an d Blue Origin, therefore, cannot establish th e substantial chan ce of contrnct awar d

that it must demonstrate to suppo1t standing.

III.    The Court Should Dismiss Count Two And Other Allegations In Blue Origin's
        Complaint Because Blue Origin Has Waived Them

        In Count Two in paiticular but also in other allegations in its complaint, Blue Origin

plainly challenges unambiguous ten ns of the solicitation . Because Blue Origin raises these

claililS after contract awai·d an d long after it subinitted its proposal in response to the solicitation,

Blue Origin has waived these claims under the binding rnle established in Blue & Gold Fleet,

and the Comt must dismiss them.

        "[A] patty who has the oppo1tunity to object to the ten ns of a government solicitation

containing a patent eITor and fails to do so prior to the close of the bidding process waives its

ability to raise the same objection subsequently in a bid protest action in the Comt of Federal

Claims." Blue & Gold Fleet, 492 F.3d at 1313. "[W]hen Blue & Gold Fleet's waiver rnle

applies, a court must disiniss the action ; it has no discretion to allow the plaintiff to maintain the

action ." SEKRI, 152 Fed. CL at 752.

        In its complaint, Blue Origin challenges th e strncture of the Option A HLS solicitation as

a procurement conducted pursuant to FAR Pait 35. See, e.g. , Compl. ,, 15-19, 50. Moreover, in

Count Two of its complaint, Blue Origin, inco1Tectly incorporating law applicable to FAR Pait

15 negotiated procurements to the Option A HLS solicitation that NASA conducted pursuant to

FAR Pait 3 5, alleges that NASA was required to conduct discussions with all offerors, rather

                                                   49
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 58 of 85




than conducting post-selection negotiations only with SpaceX. Compl. ,nf 138-51. These

allegations, at bottom, challenge plain, unambiguous solicitation tenns, and must be dismissed.

NASA did exactly what it said it would do in the solicitation, acting in accordance with those

unambiguous tenns, and to the extent that Blue Origin sought to challenge those tenns, it was

required to do so prior to the date for receipt of proposals in response to the solicitation (or, in

any case, prior to award). Because it failed to so, these allegations are waived.

       The strncture of the solicitation and its organization as a research and development

procurement pursuant to FAR Pait 35 was unambiguous from the face of the solicitation. AR

Tab 27 at 24473 ("The Government is conducting this procurement as an 'other competitive

procedure' in accordance with FAR 6.102(d)(2) and FAR 35.016 (as deviated). NASA will not

conduct a comparative analysis and trnde-off amongst proposals. Rather, each proposal will be

evaluated on its own individual merits."). Indeed, this was not the first NASA HLS procurement

organized in this manner in response to which Blue Origin elected to submit a proposal. AR Tab

108a-002, Base Period BAA, at 65716 (containing essentially the same language). Blue Origin

alleges that this strncture was not in accordance with FAR 35.016, because the solicitation

included a detailed SOW and other attachments, as well as other te1ms Blue Origin claims nm

counter to the FAR Pait 35 strncture. Compl. ,r,r 15-16, 19. Not only does this allegation have

no basis in the law, it is plainly waived, because the solicitation, SOW, and other attachments

were all available to Blue Origin and made plain their structure. If Blue Origin found this

structure to be contr·a1y to law or regulation, it had to bring any such challenge before submitting

its proposal. Having failed to do so, Blue Origin has waived these allegations.




                                                  50
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 59 of 85




       In addition, Blue Origin challenges the stm cture that the solicitation unambiguously

describes related to discussion and post-selection negotiations with offerors. Compl. ,r,r 17-18,

138-51. The solicitation, however, was abundantly clear on this stm cture - in either discussions

or post-selection negotiations, an offeror could be invited by the conti·acting officer to revise

po1iions of its proposal identified as open to revision. AR Tab 27 at 24434. It is unambiguously

clear that the only difference is the stage of the procurement at which these exchanges occur.

Blue Origin's attempt to now challenge these tenns comes too late.

       Indeed, in fashioning the Option A solicitation, NASA consciously expanded its

flexibility in post-selection negotiations as compared with those pennitted in the Base Period

solicitation. AR Tab108b55-102a at 104673-74; compare AR Tab 108a-002 at 65676 with Tab

27 at 24434. Having competed for both procurements, Blue Origin was well aware of these

tenns and how they changed from the Base Period solicitation to the Option A solicitation. If

Blue Origin considered the sti11cture of post-selection negotiations unambiguously stated in the

Option A solicitation to be conu-aiy to law, it was required to bring such a challenge prior to

submitting a proposal in response to that solicitation. It may not now "'come fo1ward with [its

objections] to restaii the bidding process,' and get a second bite at the apple." COMINT, 700

F.3d at 1383 (quoting Blue & Gold Fleet, 492 F.3d at 1314). Because Blue Origin has waived

these allegations, the Comi should dismiss them.

IV.    The Court Should Grant Judgment On The Administrative Record To The United
       States

       As we have described above, the Court should dismiss each Count of Blue Origin's

complaint because Blue Origin cannot establish standing to pursue it, because Blue Origin has

waived it, or both. To the extent, however, that the Comi determines that any of Blue Origin's

                                                 51
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 60 of 85




claims survive to a merits analysis, the Comt should neve1theless grant judgment on the

administrative record in favor of the United States.

       Much of Blue Origin's complaint hinges on its misinte1pretation of te1ms of the

solicitation and its statement of work related to FRRs. Blue Origin's inte1pretation is incoITect,

however, and because much of the rest of its complaint is built on this faulty foundation, it

collapses along with Blue Origin's FRR claims.

       To the extent that Blue Origin advances a separate claim that NASA's post-selection

negotiations with SpaceX were improper or that NASA was othe1wise required to conduct

discussions with Blue Origin, this claim, to the extent not waived, also collapses in the face of

clear solicitation te1ms describing exactly the actions that NASA took. Similarly, NASA had no

obligation to amend the solicitation in light of the level of funding Congress ultimately made

available for the HLS program, because plain solicitation te1ms described how NASA would act

in such a scenario, and NASA acted in accordance with those tenns.

       Finally, NASA evaluated SpaceX's proposal in accordance with the te1ms of the

solicitation and the implied covenant of good faith and fair dealing. Because Blue Origin cannot

establish that NASA's conduct of the HLS Option A procurement was arbitra1y, capricious,

abusive of its discretion, or othe1wise not in accordance with law, the Comt should grant

judgment on the administrative record to the United States.

       A.      NASA Did Not Waive A Solicitation Requirement For FRRs Or Other
               Milestone Reviews For SpaceX

       As we explain in detail above, Blue Origin cannot prevail in its protest because, wholly

apart from the lack of merit to its claims, it lacks standing to pursue them because it cannot show

that it would have had a substantial chance of award even if Blue Origin were coITect in its

                                                52
         Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 61 of 85




allegations. In the event that the Comi finds standing, however, Blue Origin's complaint hinges

on its faulty interpretation of a handful of tenns in the solicitation and its statement of work

related to FRRs and other milestone reviews.

        Inte1pretation of a solicitation "begin[s] with the plain language of the document."

Banknote Corp. ofAm. v. United States, 365 F.3d 1345, 1353 (Fed. Cir. 2004). "If the provisions

of the solicitation are clear and unambiguous, they must be given their plain and ordinaiy

meaning." Id. (citation omitted). In inte1preting solicitation terms, the Comi "must consider the

solicitation as a whole, inte1preting it in a manner that hannonizes and gives reasonable meaning

to all of its provisions." Id.

        The pivotal sentence in the SOW on which so much of Blue Origin's complaint relies

states that "[t]he FRR should be completed by two (2) weeks before launch of each HLS

element." 4 AR Tab 27e at 32972. The tenns critical to inte1preting this provision are "should"

and "HLS element."

        Inte1preting the fo1mer, the word "should," is easy, as the SOW expressly defined this

tenn. It defined "should" as follows: "Expectation: Should denotes a statement of best practice

or intent." Id. at 32949. This definition was expressly contrasted, in the same section, with the

definition of "shall," which was defined as follows: "Requirement: Shall is used to indicate a



   4
      Blue Origin's complaint cites solicitation Attachment 0, the Milestone Acceptance and
Payment Criteria, rather than the SOW, as the basis for the FRR "requirement." Compl. ,r,r 80-
81 , 126. This document was a fillable fonn designed for offerors to propose perfo1mance based
payments, rather than a recitation of perfonnance requirements. AR Tab 27 at 24465-67, Tab
27k. Perfo1mance requirements were stated in the SOW. Although Attachment O contains the
phrase " [a]n FRR is required prior to each launch of an HLS element," it expressly references the
SOW as the authority for that statement. Id. at 33187.


                                                 53
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 62 of 85




requirement, meaning it must be implemented, and its implementation verified." Id.

Accordingly, the entire premise on which Blue Origin's complaint is built, as it is founded on the

notion that SpaceX's proposal failed to meet a solicitation requirement with regard to FRRs,

collapses before we even get to analyzing SpaceX's proposal, because the te1m on which Blue

Origin relies was not a mandato1y solicitation requirement but rather was a statement of best

practice that NASA hoped to see in offerors ' proposals.

       Neve1i heless, the second key tenn in the provision on which Blue Origin relies is the

ten n "HLS element." This te1m is not expressly defined in the solicitation or statement of work,

but other tenns and definitions make its meaning clear. The first part of the te1m, "HLS," is

defined in the solicitation and its SOW:

               HLS : All objects, vehicles, elements, integrated systems, systems,
               subsystems, or components thereof that are designed, developed,
               and utilized by the contractor, its teammates, subcontractors, and
               suppliers in perfo1mance of this contract, and which collectively
               comprise the contractor's Integrated Lander (or elements thereof),
               all Supporting Spacecraft, all launch vehicles necessary for launch
               and delivery of the contractor's Integrated Lander (or elements
               thereof) and its Supporting Spacecraft, and the contractor's Active-
               Active docking adapter (AADA) (if required for perfon nance of the
               contractor's crewed demonstration mission).

Id. at 32948 (italics added, boldface in original). That definition is ve1y broad, and plainly

includes suppo1iing spacecraft. The definition also includes the second paii of the key phrase -

the word "element" - and uses that word to refer to parts of the integrated lander, in contrast to

supporting spacecraft. This impo1iant difference is further demonstrated in the definitions of

"integrated lander" and "suppo1i ing spacecraft:"

               Integrated Lander: Any and all combinations of contractor
               elements (e.g. Ascent Element), including potential~y a single
               element, which is integrated at any time crew are onboard.

                                                 54
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 63 of 85




               Supporting Spacecraft: Any contrnctor spacecraft that is not
               othe1wise the Contractor's HLS Integrated Lander, Launch
               Vehicle, or AADA, but that is othe1w ise required for the Contractor
               to execute its demonstration mission or any po1tion thereof in
               perfo1mance of this contract, including, but not limited to,
               rendezvous, proximity operations, docking and undocking
               (RPODU), propellant transfer, and orbital maneuvering and transfer.

Id. (italics added, boldface in original). Suppo1ting spacecraft is defined expressly in opposition

to the integrated lander. The word "element" is used nowhere in the definition of suppo1ting

spacecraft, but is used repeatedly in the definition of integrated lander. The word "element,"

therefore, refers to a component of the integrated lander, which, by definition, is not a suppo1ting

spacecraft, and vice-versa.

       This meaning of the word "element" is reflected throughout the solicitation and its SOW.

For example, the SOW defines "HLS Flight Operations" as "the period of perfo1mance that

begins with the first Eaith launch of any element of the HLS Integrated Lander, includes the

entirety of the HLS Mission, and concludes with the subsequent transition of the uncrewed HLS

out of the CSV approach ellipsoid." Id. at 32999.

       More examples abound in the solicitation itself. In discussing ownership of prope1ty, the

solicitation states that "NASA will not take ownership of the Integrated Lander, any individual

elements thereof, or Supporting Spacecraft." AR Tab 27 at 24443 (emphasis added). This

provision plainly demonstrates that "elements" refers to pai·ts of the integrated lander, which

supporting spacecraft ai·e an entirely different catego1y that requires separate invocation. In

another example, the solicitation states that " [t]he Offerer is required to propose how it will

launch and deliver its Integrated Lander (and all elements thereof) to the Moon using

commercial launch vehicle(s), including all phases of launch vehicle flight and, ifapplicable,

                                                 55
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 64 of 85




any Supporting Spacecraft." Id. at 24453. Again, "elements" is used in conjunction with the

integrated lander, while suppo1iing spacecraft are described as a separate catego1y.

       The GAO misinte1preted the language of the solicitation by improperly minimizing the

importance of the word "element." AR Tab 108b67a at 105074-76. In effect, the GAO found

that, because the definition of HLS includes suppo1iing spacecraft, an HLS element must include

suppo1iing spacecraft as well.5 Id. at 105075-76. As we have demonstrated, this is not coITect-

"element" has a paiiicular meaning in the solicitation and its statement of work, one that is cleai·

from the documents read as a whole, and that meaning does not include suppo1iing spacecraft.

Moreover, the GAO's inte1pretation of the word "element" to instead include each item listed in

the solicitation definition of HLS makes no sense, not least because the third item in that list is

the word "element" itself. AR Tab 27e at 32948. It would be nonsensical to read the SOW to be

defining HLS elements to include not only objects and vehicles, but also, somehow, "elements."

       Of course, this Comi is not bound to follow the GAO, or even to accord its inte1pretation

any paiticulai· weight- although GAO decisions may be helpful given GAO's experience in the

area of bid protests, GAO decisions are not entitled to deference on m atters of legal

inte1pretation . See Grnnley Walsh Int 'l LLC v. United States, 78 Fed. CL 35, 39 (2007) (citing

Metcalf Constr. Co. v. United States, 53 Fed. CL 617 n.1 7 (2002)).




   5
      The GAO also cites a passage in the SEP repo1t for Dynetics as suppo1iive of its
inte1pretation . AR Tab 108b67a at 105076 (citing AR Tab 59b at 62738-39). Even if this
passage of the SEP repo1i was poorly worded, it was not in any way inco1porated into the
solicitation, and has no legal beai·ing on the plain meaning of the solicitation's tenns.


                                                 56
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 65 of 85




        Likewise, the unsolicited opinion of Blue Origin's retained expert, Dr. Alan Wilhite,

should not be considered by the Comi .6 Review of bid protest allegations should be based on

"the administrative record ah-eady in existence, not some new record made initially in the

reviewing comi ." Axiom Res. Mgmt., Inc. v. United States, 564 F.3d 1374, 1379 (2009). Dr.

Wilhite's declaration was not before the agency, an d is not pa1i of the administrative record in

this case. Blue Origin has not even attempted to meet the high bar for admission of Dr. Wilhite's

opinions as a supplement to the administrative record, but even if Blue Origin were to do so, it is

clear that these opinions ar e not necessaiy for "effective judicial review" of Blue Origin's protest

allegations, which hinge on th e inte1p retation of solicitation ten ns. Id. at 1380 (citation omitted);

see also Rhinocorps Ltd. Co. v. United States, 87 Fed. CL 261, 282 (2009) (finding it

inappropriate to supplement the administrative record with documents that "proffer facts that

substitute plaintiff's opinion for th e [agency's] technical deten ninations[.]"). In any event,

despite Dr. Wilhite's experience in aerospace engineering, he is not better situated than this

Comito inte1p ret solicitation tenns. 7




   6
      Blue Origin has not moved to supplement the adtninistrative record with this declaration,
and it is not properly before the Comi for consideration. Accordingly, we have not moved to
strike, but reserve the right to do so, as the declaration is not paii of the administrative record, the
Comi's record, or a necessa1y supplement to either.
   7
     Dr. Wilhite also asks this Comito consider a briefing slide which loosely refened to
"elements" of SpaceX's proposed concept of operations. Deel. at ,i 15; see also Comp!. ,i 70.
Because th e ten ns of the solicitation ar e cleai· an d unainbiguous when reading the solicitation as
a whole, the Comi should not consider this extrinsic evidence when inte1preting the solicitation 's
tenns. Even if considered, however, one casual, colloquial reference to "elements" more broadly
does not contradict NASA's consistent application, evidenced throughout the record, of the te1m
"element" to refer to a component of the integrated lander.


                                                  57
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 66 of 85




       Blue Origin also attempts to suppo1i its position by relying on a negotiating position

taken by NASA in its post-selection negotiations with SpaceX. See, e.g., Compl. ,nf 91 , 105-06.

This letter was not inco1porated into the solicitation, and has no legal bearing on its plain tenns.

See Banknote, 365 F.3d at 1353. Moreover, even if the terms at issue were ambiguous, any such

ambiguity was patent, and Blue Origin's failure to seek clarification prior to submitting its

proposal "precludes acceptance of its inte1pretation in a subsequent action against the

government." Blue & Gold Fleet, 492 F.3d at 1313 (citation and internal quotation marks

omitted). Even if the Comi were inclined to consider this letter, however, it is of no assistance in

determining the proper inte1pretation of the solicitation's te1ms, because NASA intentionally

framed it in the strongest possible te1ms as a negotiating strategy, anticipating that a compromise

position would be reached. AR Tab 63; Tab 108b55-102a at 104694.

       In any event, NASA was well within its considerable discretion to manage the risk

presented by SpaceX's proposal 's approach to FRRs as it did, by assigning a weakness due to the

increased risk presented by SpaceX's approach, and mitigating that risk through post-selection

negotiations. These actions were in accordance with the solicitation's plain tenns, and Blue

Origin's disagreement with NASA's approach is not a basis to find it unreasonable.

       Contracting officials are "given broad discretion in their evaluation of bids ... and when

an officer[']s decision is reasonable a comi may not substitute its judgment for that of the

agency." R & W Flammann GmbHv. United States, 339 F.3d 1320, 1322 (Fed. Cir. 2003)

(citations omitted). "In addition, where a technical evaluation is at issue, the comi must defer to

the agency's decision." Gen. Dynamics Mission Sys., Inc. v. United States, 137 Fed. Cl. 493 , 523

(2018) (citing E.W. Bliss , 77 F.3d at 449 ). Indeed, " [c]hallenges involving ' the minutiae of the


                                                 58
          Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 67 of 85




procurement process in such matters as technical ratings ... involve discretiomuy detenninations

of procurement officials that a court will not second guess." Metro. Interpreters & Translators,

Inc. v. United States, 145 Fed. Cl. 495, 511 (2019) (citing E.W. Bliss, 77 F.3d at 449). Moreover,

'" [n]aked claims ' of disagreement with evaluations, 'no matter how vigorous, fall far short of

meeting the heavy burden of demonstrnting that the findings in question were the product of an

inational process and hence were arbitnuy and capricious."' Metro. Interpreters, 145 Fed. Cl. at

511 (citing Banknote C01p. ofAm. v. United States, 56 Fed. Cl. 377,384 (2003), affd, 365 F.3d

1345 (Fed. Cir. 2004)). Deference to agency judgment is pa1ticularly appropriate in this case

because, as the Supreme Comt has advised, "a reviewing comt must generally be at its most

deferential" when an agency is "making predictions, within its area of special expe1tise, at the

frontiers of science." Baltimore Gas & Elec. Co. v. Natural Res. Def Council, 462 U.S. 87, 103

(1983).

          In exercising its considerable discretion, NASA reasonably evaluated SpaceX's approach

to FRRs as a weakness in SpaceX's management approach. AR Tab 59c at 62812-14. The SEP

repo1t demonstrates NASA's awareness of the issue, and recognition that SpaceX's unique

proposed concept of operations presented additional risk to NASA with respect to FRRs. Id.

Specifically, because SpaceX's unscrewed depot and tanker Starships would be launched well in

advan ce of its crewed single-element HLS Starship, the FRR, which SpaceX proposed to

conduct two weeks prior to the launch of the HLS Starship, would necessarily not be able to

review whether the suppo1ting spacecraft were ready for flight, as they would have ah-eady been

launched previously. Id. at 62813-14.




                                                59
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 68 of 85




       Critically, though, the evaluators' responsibility did not end with the identification of an

issue in an offeror's proposal. Instead, the solicitation ten ns plainly described the mbric under

which evaluations were to be made regarding the impact of an undesirable aspect of a proposal

on NASA's confidence in the proposal overall. AR Tab 27 at 24476. Specifically, the

solicitation stated that a Weakness would be assigned for " [a] flaw in the proposal that increases

the risk of unsuccessful contract perfo1m ance." Id. By contrast, a Deficiency would only be

assigned for " [a] material failure of a proposal to meet a Government requirement or a

combination of significant weaknesses in a proposal that increases the risk of unsuccessful

contract perfo1mance to an unacceptable level." Id.

       It is NASA, not Blue Origin or even this Comi, that is charged with assessing the risk

posed by each aspect of an offeror' s proposal. NASA did just that with respect to the flaws it

found in SpaceX's proposed approach to FRR's, which it dete1mined "had the effect oflessening

NASA's involvement and paiiicipation in assessing flight readiness for the offeror's suppo1iing

spacecraft prior to launch of such spacecraft." AR Tab 59c at 62814.

       Here is it critical to note that, although it initially proposed only a single NASA-led FRR

prior to the launch of its crewed, single-element integrated lander, SpaceX from the outset

proposed to conduct its own FRRs prior to the launch of its suppo1iing spacecraft. AR Tab 108a-

117 at 92314, 92332; Tab 108b55-102a at 104678. Moreover, SpaceX proposed to pe1mit

NASA involvement in those FRRs - NASA was to be pe1mitted full access to the FRRs for

suppo1i ing spacecraft, but would not chair those reviews, like it would for the FRR prior to the

launch of SpaceX's HLS Stai·ship. Id. Because this proposal would lessen (though not

eliminate) NASA's involvement in the process, NASA reasonably detennined, pursuant to its


                                                 60
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 69 of 85




expe1t technical judgment to which this Comt owes significant discretion, that this aspect of

SpaceX's proposal "increases [its] risk of unsuccessful perfonnance" and waffanted a weakness

in its management approach. AR Tab 59c at 62814.

       It is also impo1tant here to address Blue Origin's repeated attempts to miscast SpaceX's

approach to FRRs as a safety concern. See Compl. ,nr 67-68. As the solicitation tenns make

clear and as NASA explained before the GAO, neither NASA's astronauts or any other crew are

ever transpo1ted by the suppo1ting spacecraft SpaceX proposed, unlike the integrated lander, for

which SpaceX proposed a NASA-led FRR. AR Tab 108b55-102a at 104681. Moreover, as we

have explained, SpaceX did propose to conduct its own FRRs before the launch of its suppo1ting

spacecraft, for which reviews the Federal Aviation Administration (FAA) has responsibility for

ensming public safety. Id.; see also AR Tab 108b62 at 104882-83 (discussing NASA safety

training, reviews and process, as well as FAA guidelines and responsibilities). The record does

not suppo1t Blue Origin's allegations that SpaceX's proposed approach presented a safety

conce1n.

       Finally, Blue Origin extends the flawed premise of its FRR allegations to other milestone

reviews described in the solicitation and SOW. Compl ,, 7-8, 24, 95-96. For the DCR, Blue

Origin faults SpaceX for not meeting a "requirement" for the DCR to be completed 9 months

prior to the first HLS launch, but quotes the language from the solicitation, which uses the tenn

"should," which, as we explain above, was expressly defined to denote best practices rather than

a requirement. Moreover, the pm-pose of the DCR is to "ensme[] that the qualification and

verifications demonstrate design compliance with the functional and performance requirements

and human spaceflight ce1tification." AR Tab 27e at 32969. The reference to the Option A


                                                61
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 70 of 85




"functional and perfonnance requirements," see AR Tab 27d.09 at 32908, upon which

qualification, verification, and compliance demonstration are based, is to requirements contained

in the HLS Pa1tner System Requirements Document, the scope of which is defined as "a minimal

set of HLS perfonnance requirements identifying the functionality of the integrated lander

system." Id. at 32892. Accordingly the DCR was concerned with ensuring that the integrated

lander system met applicable requirements, not with suppo1ting spacecraft.

       With regard to other reviews, NASA reasonably concluded, in the exercise of its

significant discretion in making such judgments, that SpaceX 's proposed approach to these

reviews did not increase the risk of unsuccessful contract perfonnance and, thus, did not merit a

weakness or other finding, pa1ticularly in light of SpaceX's proposal to follow "strict Federal

Aviation Administration (FAA) requirements to keep the public safe." AR Tab 34a at 55010.

       At bottom, Blue Origin's allegations amount to no more than an expression of its

disagreement with NASA's technical evaluations. This is perhaps no more apparent than in

paragraph 28 of its complaint, in which Blue Origin lists a litany of complaints about SpaceX's

proposed approach. We have ah-eady highlighted above the incongrnity of this paragraph in a

complaint that alleges that Blue Origin would have adopted much the same approach it criticizes

so vociferously in paragraph 28, if only it were freed of making milestone reviews. But this

paragraph also serves to demonstrate that the trne nature of Blue Origin's challenge is a mere

disagreement with the expert judgment of NASA evaluators, mixed with understandable

disappointment at not receiving award of an Option A contract. But the law is clear that agency

evaluations are due paiticular deference, paiticulai·ly when they involve such complex topics as

the literal rocket science involved in this procurement. See, e.g ., Banknote, 56 Fed. Cl. at 384.


                                                 62
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 71 of 85




       Finally, as we explain in the standing section above, Blue Origin cannot demonstrate that,

even if the Court were to find that NASA ened in some way with respect to SpaceX's approach

to FRRs and other reviews, that Blue Origin was prejudiced by any such enor. "A protestor

must demonstrnte prejudice twice: first to establish standing and then again to prevail upon the

merits." Digitalis Educ. Sols., Inc. v. United States, 97 Fed. Cl. 89, 93 (2011), aff'd, 664 F.3d

1380 (Fed. Cir. 2012) (citations omitted) . "At both junctures, the test for prejudice ... is the

same: whether the protestor had a substantial chance of securing the contract but for the enor."

Id. (citations omitted). However, "for the second prejudice inquny , which is a component of our

review of the merits, we consider only the evidence in the record." Id. (citation omitted) . For

the reasons we describe above, Blue Origin has not met its burden to show that it was prejudiced

by any NASA enor with regard to FRRs or other milestone reviews and, accordingly, the Comi

should grant judgment on the administrntive record in favor of the United States even if it finds

that NASA ened.

       B.      NASA Was Not Required To Hold Discussions With Blue Origin, And Its
               Exchanges With SpaceX Were Proper In Accordance With The Solicitation

       As we explain in Section III above, Blue Origin has waived the allegations contained in

Count Two of its complaint, and the Court should dismiss them. These allegations challenge

clear, unambiguous tenns of the solicitation and, having failed to bring these challenges prior to

the date for receipt of proposals, Blue Origin cannot pursue them now, long after award.

       Even if these clanns were not waived, however, Blue Origin has not shown that NASA's

actions were arbitra1y, capricious, or in any way contraiy to law or the tenns of the solicitation.

Instead, NASA acted appropriately and exactly in accordance with the plain solicitation tenns.




                                                 63
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 72 of 85




       Blue Origin's allegations in Count Two rest on two false premises. First, Blue Origin

alleges that SpaceX's proposal was deficient, because it failed to comply with what Blue Origin

characterizes as material solicitation requirements regarding FRRs. Compl. ,i 143. As we

explain in the preceding section, Blue Origin is inco1Tect.

       Second, Blue Origin alleges that NASA conducted discussions with SpaceX, but failed to

conduct discussions with Blue Origin. Compl. ,i 144. Again, Blue Origin is inconect. NASA

did not conduct discussions with SpaceX or any other offeror. Rather, in accordance with the

express tenns of the solicitation, it conducted post-selection negotiations with SpaceX.

       As we explain in the facts section above, the solicitation expressly defined both the te1m

discussions and post-selection negotiations. AR Tab 27 at 24434. Post-selection negotiations

were defined as: "exchanges with Offerors who have been selected for potential contract award

that result in the Contracting Officer inviting the Offeror to revise only those specific po1iions of

its proposal that have been identified by the Contracting Officer as open to revision." Id. This

definition was identical to the definition of discussions, except that discussions "occur after

receipt of proposals but before selection," while post-selection negotiations occur "with offerors

who have been selected for potential contract award." Id. (emphasis added). Indeed, in

fashioning the Option A solicitation, NASA consciously expanded its flexibility in post-selection

negotiations as compared with those pe1mitted in the Base Period solicitation. AR Tab108b55-

102a at 104673-74; compare AR Tab 108a-002 at 65676 with Tab 27 at 24434.

       The solicitation also defined proposal revision, which meant "any change made by the

Offeror to its proposal that occurs as a result of discussion or post-selection negotiations in

accordance with Section 4.2.2. of this solicitation." Id. Finally, in three separate sections of the


                                                 64
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 73 of 85




solicitation, NASA warned offerors that it "may evaluate proposals and award contracts without

conducting post-selection negotiations or discussions with Offerors" and that, as a consequence,

"each Offeror shall submit only one proposal which represents its best approach to meeting the

requirements of the solicitation." Id. at 24433 (emphasis omitted), 24473, see also 24481.

       NASA expressly reserved the right to conduct discussions or post-selection negotiations

if the contracting officer detennined them to be necessa1y. Id. at 24473. Moreover, the

solicitation expressly provided that " [t]he Government reserves the right to negotiate any aspect

of an Offeror's milestone payment amounts, schedule, and/or acceptance criteria prior to award

of Option A." Id. at 24467.

       Blue Origin did not challenge these tenns during the procurement process, nor does it

now establish that these te1ms are contra1y to law. Instead, the law provides that contracting

officials "generally have broad discretion regarding whether or not to engage in discussions with

offerors before award." Chenega Healthcare Servs., LLC v. United States, 138 Fed. CL 644, 652

(2018) (citing Allied Tech. Grp., Inc. v. United States, 649 F.3d 1320, 1327-29 (Fed. Cir. 2011)).

       The essence of Blue Origin's challenge appears to be allegations that SpaceX's proposal

contained a deficiency and, deficiencies cannot be cured pursuant to post-selection negotiations.

But not only is Blue Origin wrong that SpaceX's proposal was deficient, its argument that a

deficiency could not be cured in post-selection negotiations also finds no suppo1t in the language

of the solicitation or in the law. Blue Origin appears to concede that a deficiency could be cured

in discussions. But post-selection negotiations were expressly defined by the solicitation to have

exactly the same scope as discussions - it is only their timing that differed. Accordingly, as in

discussions, there is no reason that a deficiency could not be cured in post-selection negotiations.


                                                 65
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 74 of 85




       Blue Origin appears to suggest that, if SpaceX's proposal was deficient, it could not be

"selected" for post-selection negotiations in the first place. But the solicitation does not suppo1i

this allegation. A selection for post-selection negotiations is not a selection for award, but only a

selection for potential award. AR Tab 27 at 24434. Indeed, NASA's selection of SpaceX for

negotiations expressly stated that it was "non-final" and conditional, and did not amount to a

decision to award an Option A contract to SpaceX. AR Tab 64 at 62893; Tab 77 at 63039.

Instead, "selection," in this context, merely enabled NASA to enter into post-selection

negotiations with SpaceX, and did not even preclude the possibility of post-selection

negotiations - or, for that matter, award - to another Option A offeror. AR Tab 64 at 62892-94.

NASA's perfectly rational detennination was simply that it was in NASA's best interests, given

the available funding and prices proposed by the offerers, to select and enter into post-selection

negotiations with the highest rated and lowest priced offeror, SpaceX, and then to determine,

following those negotiations, whether any fmiher negotiations were in NASA's best interests.

Id. at 62894.

       Indeed, the adininistrative record expressly addi·esses the hypothetical situation of

whether a proposal containing a flaw that precluded award could remedy that flaw in post-

selection negotiations. NASA determined that Blue Origin's proposal contained advance

payments that were expressly prohibited by the solicitation, and rendered a proposal ineligible

for award. AR Tab 77 at 63054. The SSA, however, explained that although these proposed

advance payments "render Blue Origin's proposal ineligible for award without the Government

engaging in discussions or negotiations with Blue Origin," either type of exchanges "would

provide an oppo1iunity for [Blue Origin] to subinit a compliant revised proposal." Id.; see also


                                                 66
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 75 of 85




id. at 63056 n.1 ("While it is also the case that Blue Origin's proposal is not awardable as-is in

light of its aforementioned advance payments, this is an issue I would endeavor to allow Blue to

con ect through negotiations or discussions if I othe1w ise concluded that its proposal presents a

good value to the Government.").

        Finally, as we explain in the standing section above, even if the Comt were to find that

NASA should have conducted discussions with Blue Origin, it cannot demonstrate that it was

prejudiced by any such en or. Accordingly, the Comt should grant judgment on the

administrative record in favor of the United States.

        C.      NASA Had No Obligation To Amend The Solicitation, And Its Decision Not
                To Do So Was Rational

        In Count Three of its complaint, Blue Origin alleges that NASA was required to amend

the solicitation upon learning of the funding available for the Option A procurement, because

this was tantamount to a change in requirements. Compl. ~ 155. On the contraiy, the solicitation

anticipated exactly the situation that arose and made express provision for how it would be

handled, in accordance with which NASA acted. Blue Origin fmther alleges that NASA's

requirements for FRRs, DCRs, and other reviews changed, necessitating an amendment to the

solicitation. Compl. ~~ 158-159. As we demonstrate above, NASA's requirements did not

change with respect to these reviews, so no amendment was required or waiTanted.

        Blue Origin rests its allegations on the ten ns of FAR 15.206(a), which provides that

" [w]hen, either before or after receipt of proposals, the Government changes its requirements or

ten ns and conditions, the contracting officer shall amend the solicitation." The Option A

procurement, however, was conducted pursuant to FAR Pait 35, not FAR Part 15, so it is not

clear that this provision is applicable.

                                                 67
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 76 of 85




        Even if applicable, however, Blue Origin's allegations have no merit, and the GAO has

previously rejected them. First, the GAO found these allegations to be untimely, as Blue Origin

knew or should have known of the level of funding available to NASA well before award but

failed to bring a challenge at that time. AR Tab 108b67a at 105027-28. Likewise here, Blue

Origin has waived these allegations by failing to bring them prior to award, despite having the

clear opportunity to do so. See COMINT, 700 F.3d at 1382 (Blue & Gold Fleet waiver mle

applies to "all situations in which the protesting paiiy had the opportunity to challenge a

solicitation before the awai·d and failed to do so.").

        In addition, the GAO rejected Blue Origin's ai·gument that the funding available to

NASA necessitated a solicitation amendment. The GAO detennined that "NASA's ultimate

available funding for the HLS program did not constitute a change in NASA's requirements

because the solicitation and the applicable provisions in FAR part 35 unequivocally put offerors

on notice that any awai·d decision was subject to available funds." AR Tab 108b67a at 105028.

This detennination is plainly conect, as the solicitation contained a panoply of te1ms that

described exactly how NASA would handle limitations on available funding.

        Although Blue Origin relies heavily on te1ms in the solicitation indicating NASA's

preference to make multiple awai·ds if feasible, the solicitation was cleai· that "NASA reserves

the right to select for award multiple, one, or none of the proposals received in response to this

Appendix." AR Tab 27 at 24481. It explained that "[t]he overall number of awai·ds will be

dependent upon funding availability and evaluation results." Id. Indeed, the solicitation

expressly stated that, "[c]onsistent with FAR 35.016(e), the prima1y basis for selecting one or




                                                  68
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 77 of 85




more proposals for award shall be technical, impo1i ance to Agency programs, and funds

availability." Id. at 24475 (emphasis added).

       Moreover, the solicitation went fmiher, expressly warning offerors that " [f]unds are not

cmTently available for this solicitation, but are expected to become available on or before

contract award." Id. at 24481. It explained that " [t]he Government's obligation to make awards

is contingent upon the availability of appropriated funds from which payments can be made and

the receipt of proposals that NASA determines are acceptable." Id. That is not all: the

solicitation provided that "the SSA may consider whether the proposal allows the Agency to

effectuate its acquisition strategy of making two awards, within the limits ofNASA 's available

funds." Id. at 24480 (emphasis added). Finally, the solicitation stated that "The overall number

of awards will be dependent upon funding availability and evaluation results." Id. at 24481 .

       These tenns make abundantly clear how NASA would handle a situation where funding

available for the Option A procurement was lower than NASA hoped - it would reduce the

number of awards it would make, potentially to zero. This should have led offerors to ensure to

propose their best pricing in their initial proposal, not wait for NASA to request a reduced price

in light of funding restrictions. Indeed, the solicitation expressly exho1i ed offerors to do just

that, on multiple occasions: "each Offeror should submit its initial proposal to the Government

using the most favorable te1ms from a price and technical standpoint." Id.; see also id. at 24433

("each Offeror shall submit only one proposal which represents its best approach to meeting the

requirements of the solicitation."); id. at 24473 (same). Blue Origin's apparent business decision

to take a different approach and propose a high price, hoping to lower it, if at all, only in

discussions or negotiations is a gamble that Blue Origin alone chose to make, contraiy to the


                                                  69
          Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 78 of 85




express tenns of the solicitation. The law does not require NASA to relieve Blue Origin of the

consequences of that choice, and neither should this Comi.

          Finally, as the GAO recognized, this is not a case where a limitation on funding required

a change in the scope of the work envisioned in the contract awarded pursuant to the solicitation,

potentially providing a reason to consider amending the solicitation to account for a changed

scope of work. See AR Tab 108b67a at 105029-30. Instead, here the scope remained

unchanged. The effect of the funding limitations was to render infeasible NASA's preference for

two awards, but that situation was anticipated and properly provided for within the tenns of the

existing solicitation, and no amendment was necessaiy or waiTanted.

          Additionally, we discuss at length above that NASA did not change its requirements

related to FRRs, DCRs, or other reviews, and won't repeat those ai·gmnents here. These

allegations stem from Blue Origin's misinterpretation of solicitation tenns, not from any change

in NASA's requirements. Accordingly, no amendment to the solicitation was required or

waiTanted.

          Finally, as we explain in the standing section above, even if the Comi were to find that

NASA should have amended the solicitation, Blue Origin cannot demonstrate that it was

prejudiced by any such eITor. See Elec. Data Sys., 93 Fed. Cl. at 437 (finding lack of prejudice

despite agency's failure to amend solicitation); see also id. at 439 n.30 (citing leading legal

commentators regarding limited situations in which solicitation amendment is required).

Accordingly, the Comi should grant judgment on the administrntive record in favor of the United

States.




                                                  70
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 79 of 85




       D.      NASA Evaluated SpaceX's Proposal In Accordance With The Solicitation

       In Count Four of its complaint, Blue Origin largely rehashes allegations it mak es

elsewhere in its complaint, and to which we have fully responded above. See Compl. ,i,i 166

(regarding FRRs), 167 (regarding DCRs and oth er reviews). In particular, as these allegations

challenge NASA's evaluation of an other offeror, SpaceX, Blue Origin lacks standing to pursue

them, because offerors were not competing against each other under the te1ms of the solicitation.

For this reason an d the many oth er reasons stated above, the Comi should reject th ese allegations

and dismiss them or grant judgment on the administrative record in favor of the United States.

       To the extent that this Count raises any new allegations, however, and even if Blue

Origin possessed standing to pursue them, Blue Origin has failed to demonstrate that NASA's

evaluation of SpaceX's proposal was arbitra1y , capricious, or othe1w ise contra1y to law.

       As we explain above, NASA is entitled to an extremely high degree of deference in

assigning pa1iicular technical ratings to an offeror 's proposal, paiiicularly in highly technical

matters such as those involved in this procurement. Metro. Interpreters, 145 Fed. CL at 511

("Challenges involving the minutiae of the procurement process in such matters as technical

ratings ... involve discretionaiy dete1minations of procurement officials that a comi will not

second guess.") (citation an d internal quotation mai·ks omitted). The Comi should decline Blue

Origin's invitation to second guess NASA on these highly technical matters of paiiiculai· agency

expertise.

       Moreover, there is no basis in the record to suppo1i Blue Origin's allegation that NASA

minimized weaknesses or double-counted positive aspects of SpaceX's proposal. See Compl.

,i 93. The Significant Strength NASA awai·ded to SpaceX for exceeding NASA's requirements


                                                  71
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 80 of 85




for threshold values recognizes the value provided by the combination of capabilities that each

demonstrably exceeded NASA's requirements. AR Tab 59c at 62779-81. This was in

accordance with the solicitation provision expressly cited in the SEP Repo1i . Id. at 62779. The

Strength assigned for SpaceX's cargo allocation cites a different solicitation requirement, and

focuses specifically on the aspect of SpaceX's proposal responsive to that requirement, the

benefits associated with the nature of the cargo volume available. Id. at 62781.

       Likewise, th ere is no support in the record for SpaceX's allegation th at NASA failed to

assess an alleged SpaceX failure to propose inspection and refurbishment for its reusable

vehicles. Compl. ,i 92. On the contraiy, SpaceX's proposal is filled with discussions of

SpaceX's plans to inspect, maintain, and refurbish its reusable vehicles during its proposed

operations. See, e.g. , AR Tab 34a at 55038 ('



                                            "); Tab 34d.105 at 58357 ('

                                                                     "); Tab 34d.164 at 61486

(cha1i), 61573 (cha1i), 61580 ('                                                        "), 61604

('

                                                          "). In addition, NASA did assign

SpaceX a Significant Weakness for its highly complex concept of operations, which cited the

proposal 's reliance on th e "reuse of critical vehicles an d systems," and that "the cadence required

by the offeror's ai·chitecture demands inspection an d refurbishment of the reusable vehicles

between each flight, and at a historically undemonstrated pace." AR Tab 59c at 62797. Blue

Origin's allegation in entirely baseless, and is yet anoth er example of Blue Origin's attempts to


                                                 72
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 81 of 85




use mere disagreement with NASA's expe1ijudgments to meet its burden to demonstrate

arbitraiy and capricious agency action. As this Comi has consistently held, such mere

disagreement, however vigorous, is insufficient to cai1y this burden. Metro. Inte1preters, 145

Fed. Cl. at 511.

       Finally, as we explain in the standing section above, even if the Comi were to find that

NASA ened in its evaluation of SpaceX's proposal, it cannot demonstrate that it was prejudiced

by any such en or. Accordingly, the Comi should grant judgment on the administrative record in

favor of the United States.

       E.      NASA Did Not Breach The Implied Covenant Of Good Faith And Fair
               Dealing

       In Count Five of its complaint, Blue Origin repeats the same allegations advanced

elsewhere in its complaint, but ai·gues that these allegations amount to a breach of the "implied

contract to consider all bids fairly and honestly." Comp 1. ,i 171. The Comi has held that an

alleged breach of the implied contract to fairly and honestly consider bids "is, at best, redundant,

as any claim which could have been brought under that theo1y is preserved within [the Comi 's]

jurisdiction under 28 U.S.C. § 1491(b)(l)." Res Rei Dev., Inc. v. United States, 126 Fed. Cl. 535,

547 n.18 (2016). Count Five raises no new ai·guments and, therefore, is merely another,

superfluous way of framing the same allegations discussed above in Counts One through Four.

For the reasons explained above discussing Blue Origin's lack of standing and or waiver of these

claims as well as Blue Origin's failure to suppo1i them on the merits, the claims in Count Five

likewise fail. The Comi should dismiss Count Five or, in the alternative, grant judgment on the

administrative record in favor of the United States.



                                                 73
         Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 82 of 85




V.       Blue Origin Has Failed To Establish That It Is Entitled To Permanent Injunctive
         Relief

         The Federal Circuit has explained that "injunctive relief is available only in exti·emely

limited circumstances." CACL Inc. - Federal v. United States, 719 F.2d 1567, 1581 (Fed. Cir.

1983) (internal quotes and punctuation omitted). In the event that the Comi identifies a

prejudicial en or on the merits of this protest, it must consider three additional criteria before

ordering a pe1manent injunction: (1) "wheth er the plaintiff will suffer i1Teparable haim if the

comi withholds injunctive relief '; (2) "whether the balance of hai·dships to the respective pa1iies

favors the grant of injunctive relief;" an d (3) "whether it is in the public interest to grant

injunctive relief." PGBA, LLC v. United States, 389 F.3d 1219, 1228-29 (Fed. Cir. 2004)

(citations omitted). The grant of an injunction is "exu-aordina1y relief' and, therefore, the Comi

applies "exacting standards." Lermer Germany GmbHv. Lern1er C01p. , 94 F .3d 1575, 1577

(Fed. Cir. 1996).

         Blue Origin cannot demonsu-ate entitlement to th e injunctive relief it seeks. As an initial

matter, Blue Origin cannot succeed on the merits of its claims, for all th e reasons we explain

above.

         Moreover, Blue Origin has not demonsti·ated that it suffered in epai·able han n stemming

from NASA's decision to award a conti·act to SpaceX. To secme an injunction, Blue Origin

must present evidence that it will suffer i1Tepai·able haim in its absence - mere allegations are

insufficient. PGBA v. United States, 389 F.3d 1219, 1231-32 (Fed. Cir. 2004) (affin ning denial

of preliminaiy injunction when protester "did not come fo1ward with evidence it would suffer

i1Tepai·able harm, such as evidence of lost profits or evidence that a moneta1y awai·d would not

remedy its damages if a resolicitation or reevaluation was not ordered"); OAO Corp. v. United

                                                   74
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 83 of 85




States, 49 Fed. Cl. 478, 480 (2001) ("Mere allegations of an unfair competitive bidding process

are not sufficient to demonstrate an ineparable injmy ," because "if they were, any bid protest

would involve an ineparable injmy.").

       In the solicitation at issue, offerors were not competing against each other, and award of a

contract to SpaceX did not itself prevent award of a contract to Blue Origin. Instead, NASA

decided not to award a contract to Blue Origin because it found that its "proposal [did] not

present sufficient value to the Government when analyzed pursuant to the solicitation's

evaluation criteria and methodology," in large pa1t owing to Blue Origin's extremely high price

and NASA's limited available funding. AR Tab 77 at 63056. Even if the Comt were to

conclude that Blue Origin could show a substantial chance of award, Blue Origin has failed to

demonstrate that it will suffer iITeparable haim as a result of NASA's decision to awai·d an

Option A contract to SpaceX. Blue Origin will have other opportunities to compete for NASA

contracts for similar research, development, and services, and indeed has recently been awai·ded

one such contract, as discussed by NASA Associate Administrator Robe1t Cabana in the attached

declaration. Deel. of Robe1t D. Cabana, at ,r 10.

       Additionally, even assuming that Blue Origin could prevail on the merits and would

suffer i1Tepai·able haim, any such haim is outweighed by the haim that would result to NASA if

the Comt were to grant the injunctive relief that Blue Origin requests. Indeed, the issuance of an

injunction would "force NASA to fundamentally re-plan the HLS acquisition strategy, either by

revising and re-issuing the Option A solicitation to address any conective action diI·ected by the

Comt, or canceling the Option A procurement altogether." Id. at ,r 6. As Mr. Cabana explains,

the resultant delay to NASA's scheduled retmn to the lunai· surface could range between 8-12


                                                75
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 84 of 85




months on the low end to as much as 27 months. Id. at ,r 7. Nor is NASA's hann limited to

schedule delays: NASA would also incur significant additional monetaiy costs, which reduce

funds available for other impo1iant priorities. Id. at ,r 8. Moreover, an injunction risks the

continued success of the Option A procurement's public-private paiinership, and the terms of

any eventual Option A award. Id. at ,r 9.

        Injunctive relief is also not in the public interest, for many of these same reasons. The

HLS program is a critical paii of the lai·ger Aliemis program, an ambitious and inspiring

endeavor to return Alnerican astronauts to the Moon for the first time in over 50 years. Id. at ,r 4.

Altemis is a crncial step in creating sustainable lunai· surface ai·chitectures that will pave the way

for later missions to Mars. Id. Although HLS is only one component of the Altemis program, it

is one that is on the critical path - without HLS success, Aliemis cannot meet its objectives. Id. .

at ,r 5. In short, the cost to the public of an injunction is extremely high, as the nation's lunai·

exploration plans would, at minimum, be significantly delayed if the Comi were to issue an

injunction. Blue Origin has not canied its high burden to demonstrate that, in the absence of an

injunction, it would suffer ineparable injmy in any way comparable to the haim a significant

delay in space exploration would entail.

        Finally, even if the Court were to conclude that some relief is wan-anted, it should tailor

any such relief as naiTowly as possible to address any specific en or it may identify, while not

unduly encroaching on agency discretion. For example, the Comi the Comi could stay the case

and remand to the agency for conective action, without imposing an injunction. " An injunction

is a drastic and extraordinaiy remedy, which should not be granted as a matter of course. If a

less drastic remedy ... was sufficient to redress respondents' injmy, no recourse to the additional


                                                  76
        Case 1:21-cv-01695-RAH Document 78 Filed 12/01/21 Page 85 of 85




and extrnordimuy relief of an injunction was wairnnted." See Monsanto Co. v. Geertson Seed

Farms, 561 U.S . 139, 165-66 (2010) (internal citation omitted).

                                         CONCLUSION

       For these reasons, the United States respectfully requests that the Comi dismiss Blue

Origin's complaint or, in the alternative, grant judgment on the administrntive record in favor of

the United States.

                                                 Respectfully submitted,

                                                 BRIAN M. BOYNTON
                                                 Acting Assistant Attorney General

                                                 MARTIN F. HOCKEY, JR.
                                                 Acting Director

                                                 s/ Douglas K. Mickle
                                                 DOUGLAS K. MICKLE
OF COUNSEL:                                      Assistant Director

ALLISON M. GENCO                                 s/ Anthony F. Schiavetti
BRIAN M. STANFORD                                ANTHONYF. SCHIAVETTI
Senior Attorney Advisors                         Senior Trial Counsel
NASA Office of the General Counsel               U.S. Department of Justice
                                                 Civil Division
                                                 Commercial Litigation Branch
                                                 PO Box 480, Ben Franklin Station
                                                 Washington, D.C. 20044
                                                 Tel: (202) 305-7572
                                                 Fax: (202) 305-1 571
                                                 anthony .f.schiavetti@usdoj .gov

October 1, 2021                                  Attorneys for Defendant




                                                77
